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   10                                             Von D, Kat Von D, Inc., and High
                                                  Voltage Tattoo, Inc.
   11

   12                           UNITED STATES DISTRICT COURT
   13                         CENTRAL DISTRICT OF CALIFORNIA
   14                                     WESTERN DIVISION
   15
          JEFFREY B. SEDLIK,                          CASE NO.: 2:21-cv-01102-DSF-MRW
   16
                            Plaintiff,                Hon. Dale S. Fischer
   17
          v.                                          AMENDED JOINT PROPOSED
   18
                                                      JURY INSTRUCTIONS WITH
          KATHERINE VAN DRACHENBERG                   SUPPORTING ARGUMENTS
   19
          aka KAT VON D; KAT VON D, INC.;
          and HIGH VOLTAGE TATTOO, INC.,
   20
                                                      Trial Date: November 28, 2023
                            Defendants.
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    1           Pursuant to Section II.B of this Court’s May 19, 2021 Order Re: Jury Trial
    2     (Dkt. 19) and the Court’s instructions at the October 30, 2023 and November 13,
    3     2023 pre-trial conferences, Plaintiff Jeffrey B. Sedlik and Defendants Katherine Von
    4     Drachenberg and High Voltage Tattoo, Inc. submit the following amended joint set of
    5     jury instructions containing both the disputed and undisputed instructions in the order
    6     in which they would be given.
    7           An index of the instructions and the instructions follow below.
    8           The instructions marked in red in the index are disputed.
    9           All remaining instructions are undisputed.
   10

   11     DATED: November 14, 2023               GLASER WEIL FINK HOWARD
                                                  JORDAN & SHAPIRO LLP
   12

   13
                                                 By: /s/ Robert E. Allen
   14
                                                 ROBERT E. ALLEN
   15                                            LARA A. PETERSEN
                                                 JASON C. LINGER
   16
                                                 Attorneys for Plaintiff
   17

   18     DATED: November 14, 2023               GRODSKY, OLECKI & PURITSKY LLP
   19

   20                                            By: /s/ Allen B. Grodsky
   21                                            ALLEN B. GRODSKY
                                                 TIM B. HENDERSON
   22

   23
                                                 Attorneys for Defendants

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    1                             INSTRUCTION NO. 1 (UNDISPUTED)
    2                                            Duty of Jury
    3             Members of the Jury: Now that you have heard all of the evidence and the
    4     arguments of the attorneys, it is my duty to instruct you on the law that applies to this
    5     case.
    6             A copy of these instructions will be sent to the jury room for you to consult
    7     during your deliberations.
    8             It is your duty to find the facts from all the evidence in the case. To those facts
    9     you will apply the law as I give it to you. You must follow the law as I give it to you
   10     whether you agree with it or not. And you must not be influenced by any personal
   11     likes or dislikes, opinions, prejudices, or sympathy. That means that you must decide
   12     the case solely on the evidence before you. You will recall that you took an oath to do
   13     so.
   14             Please do not read into these instructions or anything that I may say or do or
   15     have said or done that I have an opinion regarding the evidence or what your verdict
   16     should be.
   17

   18     AUTHORITY FOR INSTRUCTION:
   19             Model Civ. Jury Instr. 9th Cir. 1.4 (2017).
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    1                            INSTRUCTION NO. 2 (UNDISPUTED)
    2                                      Claims and Defenses
    3           To help you follow the evidence, I will give you a brief summary of the
    4     positions of the parties:
    5           The plaintiff asserts that defendants infringed on plaintiff’s copyright and that
    6     plaintiff suffered damages as a result of the infringement. The plaintiff has the burden
    7     of proving these claims.
    8           The defendants deny those claims and also contend that defendants’ use of the
    9     work was fair use; [and] that if there was infringement, it was innocent infringement;
   10     and that the plaintiff’s recovery is limited by the statute of limitations. The defendants
   11     have the burden of proof on these affirmative defenses.
   12

   13     AUTHORITY FOR INSTRUCTION:
   14           Model Civ. Jury Instr. 9th Cir. 1.5 (2017) (underlined text subject to pending
   15     motion in limine filed by Plaintiff).
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    1                           INSTRUCTION NO. 3 (UNDISPUTED)
    2                     Burden of Proof – Preponderance of the Evidence
    3           When a party has the burden of proving any claim or affirmative defense by a
    4     preponderance of the evidence, it means you must be persuaded by the evidence that
    5     the claim or affirmative defense is more probably true than not true.
    6           You should base your decision on all of the evidence, regardless of which party
    7     presented it.
    8

    9     AUTHORITY FOR INSTRUCTION:
   10           Model Civ. Jury Instr. 9th Cir. 1.6 (2017).
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    1                            INSTRUCTION NO. 4 (UNDISPUTED)
    2                          Two or More Parties: Different Legal Rights
    3            You should decide the case as to each defendant separately. Unless otherwise
    4     stated, the instructions apply to all parties.
    5

    6     AUTHORITY FOR INSTRUCTION:
    7            Model Civ. Jury Instr. 9th Cir. 1.8 (2017).
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    1                        INSTRUCTION NO. 5 (UNDISPUTED)
    2                                     What is Evidence
    3         The evidence you are to consider in deciding what the facts are consists of:
    4         1. the sworn testimony of any witness;
    5         2. the exhibits that are admitted into evidence;
    6         3. any facts to which the lawyers have agreed; and
    7         4. any facts that I have instructed you to accept as proved.
    8

    9     AUTHORITY FOR INSTRUCTION:
   10         Model Civ. Jury Instr. 9th Cir. 1.9 (2017).
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    1                           INSTRUCTION NO. 6 (UNDISPUTED)
    2                                       What is Not Evidence
    3            In reaching your verdict, you may consider only the testimony and exhibits
    4     received into evidence. Certain things are not evidence, and you may not consider
    5     them in deciding what the facts are. I will list them for you:
    6            (1) Arguments and statements by lawyers are not evidence. The lawyers are not
    7     witnesses. What they have said in their opening statements, closing arguments and at
    8     other times is intended to help you interpret the evidence, but it is not evidence. If the
    9     facts as you remember them differ from the way the lawyers have stated them, your
   10     memory of them controls.
   11            (2) Questions and objections by lawyers are not evidence. Attorneys have a
   12     duty to their clients to object when they believe a question is improper under the rules
   13     of evidence. You should not be influenced by the objection or by the court’s ruling on
   14     it.
   15            (3) Testimony that is excluded or stricken, or that you have been instructed to
   16     disregard, is not evidence and must not be considered. In addition, some evidence was
   17     received only for a limited purpose; when I have instructed you to consider certain
   18     evidence only for a limited purpose, you must do so and you may not consider that
   19     evidence for any other purpose.
   20            (4) Anything you may have seen or heard when the court was not in session is
   21     not evidence. You are to decide the case solely on the evidence received at the trial.
   22

   23     AUTHORITY FOR INSTRUCTION:
   24            Model Civ. Jury Instr. 9th Cir. 1.10 (2017).
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    1                          INSTRUCTION NO. 7 (UNDISPUTED)
    2                                Evidence for Limited Purpose
    3           Some evidence may be admitted only for a limited purpose.
    4           When I instruct you that an item of evidence has been admitted only for a
    5     limited purpose, you must consider it only for that limited purpose and not for any
    6     other purpose.
    7

    8     AUTHORITY FOR INSTRUCTION:
    9           Model Civ. Jury Instr. 9th Cir. 1.11 (2017) (with bracketed text removed).
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    1                           INSTRUCTION NO. 8 (UNDISPUTED)
    2                             Direct and Circumstantial Evidence
    3           Evidence may be direct or circumstantial. Direct evidence is direct proof of a
    4     fact, such as testimony by a witness about what that witness personally saw or heard
    5     or did. Circumstantial evidence is proof of one or more facts from which you could
    6     find another fact. You should consider both kinds of evidence. The law makes no
    7     distinction between the weight to be given to either direct or circumstantial evidence.
    8     It is for you to decide how much weight to give to any evidence.
    9           By way of example, if you wake up in the morning and see that the sidewalk is
   10     wet, you may find from that fact that it rained during the night. However, other
   11     evidence, such as a turned on garden hose, may provide a different explanation for the
   12     presence of water on the sidewalk. Therefore, before you decide that a fact has been
   13     proved by circumstantial evidence, you must consider all the evidence in the light of
   14     reason, experience and common sense.
   15

   16     AUTHORITY FOR INSTRUCTION:
   17           Model Civ. Jury Instr. 9th Cir. 1.12 (2017).
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    1                           INSTRUCTION NO. 9 (UNDISPUTED)
    2                                      Ruling on Objections
    3           There are rules of evidence that control what can be received into evidence.
    4     When a lawyer asks a question or offers an exhibit into evidence and a lawyer on the
    5     other side thinks that it is not permitted by the rules of evidence, that lawyer may
    6     object. If I overrule the objection, the question may be answered or the exhibit
    7     received. If I sustain the objection, the question cannot be answered, and the exhibit
    8     cannot be received. Whenever I sustain an objection to a question, you must ignore
    9     the question and must not guess what the answer might have been.
   10           Sometimes I may order that evidence be stricken from the record and that you
   11     disregard or ignore that evidence. That means when you are deciding the case, you
   12     must not consider the stricken evidence for any purpose.
   13

   14     AUTHORITY FOR INSTRUCTION:
   15           Model Civ. Jury Instr. 9th Cir. 1.13 (2017).
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    1                            INSTRUCTION NO. 10 (UNDISPUTED)
    2                                       Credibility of Witnesses
    3            In deciding the facts in this case, you may have to decide which testimony to
    4     believe and which testimony not to believe. You may believe everything a witness
    5     says, or part of it, or none of it.
    6            In considering the testimony of any witness, you may take into account:
    7            (1) the opportunity and ability of the witness to see or hear or know the things
    8     testified to;
    9            (2) the witness’s memory;
   10            (3) the witness’s manner while testifying;
   11            (4) the witness’s interest in the outcome of the case, if any;
   12            (5) the witness’s bias or prejudice, if any;
   13            (6) whether other evidence contradicted the witness’s testimony;
   14            (7) the reasonableness of the witness’s testimony in light of all the evidence;
   15     and
   16            (8) any other factors that bear on believability.
   17            Sometimes a witness may say something that is not consistent with something
   18     else he or she said. Sometimes different witnesses will give different versions of what
   19     happened. People often forget things or make mistakes in what they remember. Also,
   20     two people may see the same event but remember it differently. You may consider
   21     these differences, but do not decide that testimony is untrue just because it differs
   22     from other testimony.
   23            However, if you decide that a witness has deliberately testified untruthfully
   24     about something important, you may choose not to believe anything that witness said.
   25     On the other hand, if you think the witness testified untruthfully about some things
   26     but told the truth about others, you may accept the part you think is true and ignore
   27     the rest.
   28            The weight of the evidence as to a fact does not necessarily depend on the
                                                 16
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    1     number of witnesses who testify. What is important is how believable the witnesses
    2     were, and how much weight you think their testimony deserves.
    3

    4     AUTHORITY FOR INSTRUCTION:
    5           Model Civ. Jury Instr. 9th Cir. 1.14 (2017).
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    1                           INSTRUCTION NO. 11 (UNDISPUTED)
    2                                      Conduct of the Jury
    3           I will now say a few words about your conduct as jurors.
    4           First, keep an open mind throughout the trial, and do not decide what the
    5     verdict should be until you and your fellow jurors have completed your deliberations
    6     at the end of the case.
    7           Second, because you must decide this case based only on the evidence received
    8     in the case and on my instructions as to the law that applies, you must not be exposed
    9     to any other information about the case or to the issues it involves during the course
   10     of your jury duty. Thus, until the end of the case or unless I tell you otherwise:
   11           Do not communicate with anyone in any way and do not let anyone else
   12     communicate with you in any way about the merits of the case or anything to do with
   13     it. This includes discussing the case in person, in writing, by phone or electronic
   14     means, via email, text messaging, or any internet chat room, blog, website or
   15     application, including but not limited to Facebook, YouTube, Twitter, Instagram,
   16     LinkedIn, Snapchat, or any other forms of social media. This applies to
   17     communicating with your fellow jurors until I give you the case for deliberation, and
   18     it applies to communicating with everyone else including your family members, your
   19     employer, the media or press, and the people involved in the trial, although you may
   20     notify your family and your employer that you have been seated as a juror in the case,
   21     and how long you expect the trial to last. But, if you are asked or approached in any
   22     way about your jury service or anything about this case, you must respond that you
   23     have been ordered not to discuss the matter and report the contact to the court.
   24           Because you will receive all the evidence and legal instruction you properly
   25     may consider to return a verdict: do not read, watch or listen to any news or media
   26     accounts or commentary about the case or anything to do with it, although I have no
   27     information that there will be news reports about this case; do not do any research,
   28     such as consulting dictionaries, searching the Internet, or using other reference
                                                18
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    1     materials; and do not make any investigation or in any other way try to learn about the
    2     case on your own. Do not visit or view any place discussed in this case, and do not
    3     use Internet programs or other devices to search for or view any place discussed
    4     during the trial. Also, do not do any research about this case, the law, or the people
    5     involved—including the parties, the witnesses or the lawyers—until you have been
    6     excused as jurors. If you happen to read or hear anything touching on this case in the
    7     media, turn away and report it to me as soon as possible.
    8           These rules protect each party’s right to have this case decided only on
    9     evidence that has been presented here in court. Witnesses here in court take an oath to
   10     tell the truth, and the accuracy of their testimony is tested through the trial process. If
   11     you do any research or investigation outside the courtroom, or gain any information
   12     through improper communications, then your verdict may be influenced by
   13     inaccurate, incomplete or misleading information that has not been tested by the trial
   14     process. Each of the parties is entitled to a fair trial by an impartial jury, and if you
   15     decide the case based on information not presented in court, you will have denied the
   16     parties a fair trial. Remember, you have taken an oath to follow the rules, and it is
   17     very important that you follow these rules.
   18           A juror who violates these restrictions jeopardizes the fairness of these
   19     proceedings, and a mistrial could result that would require the entire trial process to
   20     start over. If any juror is exposed to any outside information, please notify the court
   21     immediately.
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   23     AUTHORITY FOR INSTRUCTION:
   24           Model Civ. Jury Instr. 9th Cir. 1.15 (2017).
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    1                          INSTRUCTION NO. 12 (UNDISPUTED)
    2                                          Taking Notes
    3           If you wish, you may take notes to help you remember the evidence. If you do
    4     take notes, please keep them to yourself until you go to the jury room to decide the
    5     case. Do not let notetaking distract you. When you leave, your notes should be left in
    6     the [courtroom] [jury room] [envelope in the jury room]. No one will read your notes.
    7           Whether or not you take notes, you should rely on your own memory of the
    8     evidence. Notes are only to assist your memory. You should not be overly influenced
    9     by your notes or those of other jurors.
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   11     AUTHORITY FOR INSTRUCTION:
   12           Model Civ. Jury Instr. 9th Cir. 1.18 (2017).
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    1                          INSTRUCTION NO. 13 (UNDISPUTED)
    2                                      Stipulations of Fact
    3           The parties have agreed to certain facts that will be read to you. You must
    4     therefore treat these facts as having been proved.
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    6     AUTHORITY FOR INSTRUCTION:
    7           Model Civ. Jury Instr. 9th Cir. 2.2 (2017).
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    1                           INSTRUCTION NO. 14 (UNDISPUTED)
    2                             Deposition in Lieu of Live Testimony
    3           A deposition is the sworn testimony of a witness taken before trial. The witness
    4     is placed under oath to tell the truth and lawyers for each party may ask questions.
    5     The questions and answers are recorded. When a person is unavailable to testify at
    6     trial, the deposition of that person may be used at the trial.
    7           The deposition of Jeffrey B. Sedlik was taken on January 11, 2022, and the
    8     deposition of Katherine Von Drachenberg was taken on January 18, 2022. The
    9     deposition of Brian Vanegas was taken on July 31, 2023. Insofar as possible, you
   10     should consider deposition testimony, presented to you in court in lieu of live
   11     testimony, in the same way as if the witness had been present to testify.
   12           Do not place any significance on the behavior or tone of voice of any person
   13     reading the questions or answers.
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   15     AUTHORITY FOR INSTRUCTION:
   16           Model Civ. Jury Instr. 9th Cir. 2.4 (2017).
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    1                          INSTRUCTION NO. 15 (UNDISPUTED)
    2                              Transcript of Recording in English
    3           You are about to watch a recording that has been received in evidence. Please
    4     listen to it very carefully. Each of you has been given a transcript of the recording to
    5     help you identify speakers and as a guide to help you listen to the recording.
    6     However, bear in mind that the recording is the evidence, not the transcript. If you
    7     hear something different from what appears in the transcript, what you heard is
    8     controlling. After the recording has been played, the transcript will be taken from you.
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   10     AUTHORITY FOR INSTRUCTION:
   11           Model Civ. Jury Instr. 9th Cir. 2.5 (2017).
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    1                          INSTRUCTION NO. 16 (UNDISPUTED)
    2                                    Use of Interrogatories
    3           Evidence was presented to you in the form of answers of one of the parties to
    4     written interrogatories submitted by the other side. These answers were given in
    5     writing and under oath before the trial in response to questions that were submitted
    6     under established court procedures. You should consider the answers, insofar as
    7     possible, in the same way as if they were made from the witness stand.
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    9     AUTHORITY FOR INSTRUCTION:
   10           Model Civ. Jury Instr. 9th Cir. 2.11 (2017).
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    1                          INSTRUCTION NO. 17 (UNDISPUTED)
    2                                         Expert Opinion
    3           You have heard testimony from expert witness Cathy Montie, who testified to
    4     opinions and the reasons for his or her opinions. This opinion testimony is allowed,
    5     because of the education or experience of this witness.
    6           Such opinion testimony should be judged like any other testimony. You may
    7     accept it or reject it, and give it as much weight as you think it deserves, considering
    8     the witness’s education and experience, the reasons given for the opinion, and all the
    9     other evidence in the case.
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   11     AUTHORITY FOR INSTRUCTION:
   12           Model Civ. Jury Instr. 9th Cir. 2.13 (2017).
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                                 #:3813


    1                          INSTRUCTION NO. 18 (UNDISPUTED)
    2                      Charts and Summaries Not Received in Evidence
    3           Certain charts and summaries not admitted into evidence have been shown to
    4     you in order to help explain the contents of books, records, documents, or other
    5     evidence in the case. Charts and summaries are only as good as the underlying
    6     evidence that supports them. You should, therefore, give them only such weight as
    7     you think the underlying evidence deserves.
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    9     AUTHORITY FOR INSTRUCTION:
   10           Model Civ. Jury Instr. 9th Cir. 2.14 (2017).
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    1                          INSTRUCTION NO. 19 (UNDISPUTED)
    2                        Charts and Summaries Received in Evidence
    3           Certain charts and summaries have been admitted into evidence to illustrate
    4     information brought out in the trial. Charts and summaries are only as good as the
    5     testimony or other admitted evidence that supports them. You should, therefore, give
    6     them only such weight as you think the underlying evidence deserves.
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    8     AUTHORITY FOR INSTRUCTION:
    9           Model Civ. Jury Instr. 9th Cir. 2.15 (2017).
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    1                           INSTRUCTION NO. 20 (UNDISPUTED)
    2                                 Evidence in Electronic Format
    3           Those exhibits received in evidence that are capable of being displayed
    4     electronically will be provided to you in that form, and you will be able to view them
    5     in the jury room. A computer, projector, printer and accessory equipment will be
    6     available to you in the jury room.
    7           A court technician will show you how to operate the computer and other
    8     equipment; how to locate and view the exhibits on the computer; and how to print the
    9     exhibits. You will also be provided with a paper list of all exhibits received in
   10     evidence. You may request a paper copy of any exhibit received in evidence by
   11     sending a note through the [clerk] [bailiff].) If you need additional equipment or
   12     supplies or if you have questions about how to operate the computer or other
   13     equipment, you may send a note to the [clerk] [bailiff], signed by your foreperson or
   14     by one or more members of the jury. Do not refer to or discuss any exhibit you were
   15     attempting to view.
   16           If a technical problem or question requires hands-on maintenance or
   17     instruction, a court technician may enter the jury room with [the clerk] [the bailiff]
   18     present for the sole purpose of assuring that the only matter that is discussed is the
   19     technical problem. When the court technician or any non juror is in the jury room, the
   20     jury shall not deliberate. No juror may say anything to the court technician or any non
   21     juror other than to describe the technical problem or to seek information about
   22     operation of the equipment. Do not discuss any exhibit or any aspect of the case.
   23           The sole purpose of providing the computer in the jury room is to enable jurors
   24     to view the exhibits received in evidence in this case. You may not use the computer
   25     for any other purpose. At my direction, technicians have taken steps to ensure that the
   26     computer does not permit access to the Internet or to any “outside” website, database,
   27     directory, game, or other material. Do not attempt to alter the computer to obtain
   28     access to such materials. If you discover that the computer provides or allows access
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    1     to such materials, you must inform the court immediately and refrain from viewing
    2     such materials. Do not remove the computer or any electronic data [disk] from the
    3     jury room, and do not copy any such data.
    4

    5     AUTHORITY FOR INSTRUCTION:
    6           Model Civ. Jury Instr. 9th Cir. 2.16 (2017).
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    1                          INSTRUCTION NO. 21 (UNDISPUTED)
    2                     Corporations and Partnerships – Fair Treatment
    3           All parties are equal before the law and a corporation is entitled to the same fair
    4     and conscientious consideration by you as any party.
    5

    6     AUTHORITY FOR INSTRUCTION:
    7           Model Civ. Jury Instr. 9th Cir. 4.1 (2017).
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    1                          INSTRUCTION NO. 22 (UNDISPUTED)
    2                 Liability of Corporations – Scope of Authority Not In Issue
    3           Under the law, a corporation is considered to be a person. It can only act
    4     through its employees, agents, directors, or officers. Therefore, a corporation is
    5     responsible for the acts of its employees, agents, directors, and officers performed
    6     within the scope of authority.
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    8     AUTHORITY FOR INSTRUCTION:
    9           Model Civ. Jury Instr. 9th Cir. 4.2 (2017).
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    1                          INSTRUCTION NO. 23 (UNDISPUTED)
    2                             Preliminary Instruction – Copyright
    3           The plaintiff, Jeffrey B. Sedlik, claims ownership of copyright and seeks
    4     damages against the defendants, Katherine Von Drachenberg and High Voltage
    5     Tattoo, Inc., for copyright infringement. The defendants deny infringing the
    6     copyright, and assert the affirmative defense that they made a fair use of the work,
    7     along with other defenses. To help you understand the evidence in this case, I will
    8     explain some of the legal terms you will hear during this trial.
    9                                DEFINITION OF COPYRIGHT
   10           The owner of a copyright has the right to exclude any other person from
   11     reproducing, distributing, performing, displaying or preparing derivative works from
   12     the work covered by copyright for a specific period of time.
   13           A copyrighted work can be a literary work, musical work, dramatic work,
   14     pantomime, choreographic work, pictorial work, graphic work, sculptural work,
   15     motion picture, audiovisual work, sound recording, architectural work, or computer
   16     program.
   17           Facts, ideas, procedures, processes, systems, methods of operation, concepts,
   18     principles, or discoveries cannot themselves be copyrighted.
   19           The copyrighted work must be original. An original work that closely
   20     resembles other works can be copyrighted so long as the similarity between the two
   21     works is not the result of copying.
   22                              HOW COPYRIGHT IS OBTAINED
   23           Copyright automatically attaches to a work the moment the work is fixed in any
   24     tangible medium of expression. The owner of the copyright may register the
   25     copyright by completing a registration form and depositing a copy of the copyrighted
   26     work with the Copyright Office. After determining that the material deposited
   27     constitutes copyrightable subject matter and that certain legal and formal
   28     requirements are satisfied, the Register of Copyrights registers the work and issues a
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    1     certificate of registration to the copyright owner.
    2                               PLAINTIFF’S BURDEN OF PROOF
    3             In this case, the Plaintiff, Jeffrey B. Sedlik, contends that Defendants Katherine
    4     Von Drachenberg and High Voltage Tattoo, Inc. have infringed the plaintiff’s
    5     copyright. The plaintiff has the burden of proving by a preponderance of the evidence
    6     that the plaintiff is the owner of the copyright and that the defendants copied original
    7     expression from the copyrighted works. Preponderance of the evidence means that
    8     you must be persuaded by the evidence that it is more probably true than not true that
    9     the copyrighted work was infringed.
   10             The plaintiff must also prove that the defendants’ use of the copyrighted work
   11     was substantial. In determining whether the defendant’s use of the copyrighted work
   12     was substantial, you may consider how important the copied portion was to the
   13     copyrighted work as a whole.
   14                                      PROOF OF COPYING
   15             To prove that the defendants copied the plaintiff’s work, the plaintiff may show
   16     that the defendants had access to the plaintiff’s copyrighted work and that there are
   17     substantial similarities between the defendants’ work and the plaintiff’s copyrighted
   18     work.
   19                               LIABILITY FOR INFRINGEMENT
   20             One who reproduces, prepares derivative works from, publicly displays, or
   21     publicly distributes a copyrighted work without authority from the copyright owner
   22     during the term of the copyright, infringes the copyright.
   23             Copyright may also be infringed by vicariously or contributorily infringing.
   24                                 VICARIOUS INFRINGEMENT
   25             A person is liable for copyright infringement by another if the person has
   26     profited directly from the infringing activity and had the right and ability to supervise
   27     or control the infringing activity, whether or not the person knew of the infringement.
   28                              CONTRIBUTORY INFRINGEMENT
                                                33
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    1            A person is liable for copyright infringement by another if the person knows or
    2     should have known of the infringing activity and induces or materially contributes to
    3     the activity.
    4                               DEFENSES TO INFRINGEMENT
    5            The defendants contend that there is no copyright infringement. There is no
    6     copyright infringement when the defendants made fair use of the copyrighted work.
    7

    8     AUTHORITY FOR INSTRUCTION:
    9            Model Civ. Jury Instr. 9th Cir. 17.1 (2017).
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    1                            INSTRUCTION NO. 24 (UNDISPUTED)
    2                            Definition of Copyright (17 U.S.C. § 106)
    3           Copyright is the exclusive right to copy. This right to copy includes the
    4     exclusive rights to:
    5           (1) reproduce the copyrighted work in copies;
    6           (2) recast, transform, or adapt the work, that is prepare derivative works based
    7     upon the copyrighted work;
    8           (3) distribute copies of the copyrighted work to the public by sale or other
    9     transfer of ownership; and
   10           (4) display publicly a copyrighted graphic work.
   11           It is the owner of a copyright who may exercise these exclusive rights. The
   12     term “owner” includes the author of the work or an assignee. In general, copyright
   13     law protects against reproduction, adaptation, public distribution, and public display
   14     of identical or substantially similar copies of the owner’s copyrighted work without
   15     the owner’s permission. An owner may enforce these rights to exclude others in an
   16     action for copyright infringement.
   17

   18     AUTHORITY FOR INSTRUCTION:
   19           Model Civ. Jury Instr. 9th Cir. 17.2 (2017).
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    1                          INSTRUCTION NO. 25 (UNDISPUTED)
    2                           Copyright – Subject Matter – Generally
    3           The work involved in this trial, the Miles Davis Photograph, is known as a
    4     pictorial work.
    5           Pictorial works, such as photographs, prints, and art reproductions, can be
    6     protected by copyright law.
    7           You are instructed that a copyright may be obtained in the Miles Davis
    8     Photograph.
    9           This work can be protected by copyright law. Only that part of the work
   10     comprised of original works of authorship fixed in any tangible medium of expression
   11     from which it can be perceived, reproduced, or otherwise communicated, either
   12     directly or with the aid of a machine or device is protected by the Copyright Act.
   13           Copyright protection for an original work of authorship does not extend to any
   14     idea, concept or principle, regardless of the form in which it is described, explained,
   15     illustrated, or embodied.
   16

   17     AUTHORITY FOR INSTRUCTION:
   18           Model Civ. Jury Instr. 9th Cir. 17.3 (2017).
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    1                          INSTRUCTION NO. 26 (UNDISPUTED)
    2          Copyright – Subject Matter – Ideas and Expression (17 U.S.C. § 102(b))
    3           Copyright law allows the author of an original work to stop others from
    4     copying the original expression in the author’s work. Only the particular expression
    5     of an idea can be copyrighted and protected. Copyright law does not give the author
    6     the right to prevent others from copying or using the underlying ideas contained in the
    7     work, such as any procedures, processes, systems, methods of operation, concepts,
    8     principles or discoveries. In order to protect any ideas in the work from being copied,
    9     the author must secure some other form of legal protection because ideas cannot be
   10     copyrighted.
   11

   12     AUTHORITY FOR INSTRUCTION:
   13           Model Civ. Jury Instr. 9th Cir. 17.4 (2017).
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    1                             INSTRUCTION NO. 27 (DISPUTED)
    2               Copyright Infringement—Elements—Ownership and Copying
    3                                     (17 U.S.C. § 501(a)-(b))
    4

    5     PLAINTIFF’S PROPOSED INSTRUCTION NO. 27:
    6           Anyone who copies original expression from a copyrighted work during the
    7     term of the copyright without the owner’s permission infringes the copyright. For
    8     each of plaintiff’s copyright infringement claims, the plaintiff has the burden of
    9     proving by a preponderance of the evidence that:
   10        1. the plaintiff is the owner of a valid copyright; and
   11        2. the defendant copied original expression from the copyrighted work.
   12           The Court has already determined that Plaintiff has proven he is the owner of a
   13     valid copyright in the Miles Davis Photograph and that Defendants have copied the
   14     Photograph in connection with the Tattoo and the social media posts. You must
   15     determine whether Defendants copied “original expression” from the Miles Davis
   16     Photograph.
   17           To prove whether Defendants copied “original expression” from the Miles
   18     Davis Photograph, Plaintiff does not have to show that Defendants produced an exact
   19     duplicate of the Miles Davis Photograph. Instead, as I will discuss in further detail
   20     later, Plaintiff must show that Defendants copied the Miles Davis Photograph’s
   21     protected expression to render their works “substantially similar.”
   22           If you find that Plaintiff has proven copying of “original expression,” and that
   23     Plaintiff’s claims are not otherwise barred by an affirmative defense (which I will
   24     discuss later), your verdict should be for Plaintiff. If, on the other hand, you find that
   25     Plaintiff has failed to prove this element, your verdict should be for Defendants.
   26

   27     AUTHORITY FOR INSTRUCTION:
   28           Model Civ. Jury Instr. 9th Cir. 17.5 (2017); Rentmeester v. Nike, Inc., 883 F.3d
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    1     1111, 1118 (9th Cir. 2018).
    2

    3     PLAINTIFF’S STATEMENT RE: PLAINTIFF’S PROPOSED INSTRUCTION
    4     NO. 27:
    5           Plaintiff proposes this jury instruction that is based on the Ninth Circuit Model
    6     Civil Jury Instruction 17.5 and complies with the Court’s Standing Order.
    7           As the Court has already found, “Defendants do not dispute that Sedlik owns a
    8     valid copyright in the Portrait.” ECF 69, 10. Additionally, the Court has already
    9     found that Plaintiff has satisfied the “copying prong.” Id. (Defendants “do not appear
   10     to dispute the ‘copying’ prong, as they do not address it in their Opposition.”). Thus,
   11     as the Court found, the only outstanding issue is whether Defendants copied
   12     “protectible elements” of the Photograph in the Tattoo (although Defendants do not
   13     dispute that they publicly displayed an exact copy of the Photograph in certain of their
   14     social media posts). Id.
   15           At the October 30, 2023 pre-trial conference, the Court stated that it would
   16     include a cross-reference to affirmative defenses in this instruction. A cross-reference
   17     to substantial similarity (discussed in further detail in Instruction No. 33) is also
   18     appropriate given that this instruction uses a copyright law term of art, “original
   19     expression.” The instruction should offer some guidance on the meaning of this term,
   20     and preview the substantiality similarity instruction that will be provided later on.
   21           The second to last paragraph comes directly from Rentmeester v. Nike, Inc.,
   22     883 F.3d 1111, 1118 (9th Cir. 2018).
   23

   24     DEFENDANTS’ STATEMENT RE: PLAINTIFF’S PROPOSED
   25     INSTRUCTION NO. 27:
   26           The additional modifications to the model instruction as proposed by Plaintiff
   27     are, for the most part unnecessary and confusing. There is no reason to instruct the
   28     jury that it has been found Defendants “copied the photograph.” The question for the
                                                39
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    1     jury is not where Defendants copied the photograph but Defendants copied
    2     “protectible elements” of the photograph and that has not been established.
    3           The second to last paragraph is duplicative, confusing, and unnecessary. There
    4     will be an instruction (both sides have proposed one as Plaintiff’s Proposed
    5     Instruction No. 33 and Defendants’ Proposed Instruction No. 34) on what the
    6     protectible elements of a photograph are.
    7
          DEFENDANTS’ PROPOSED INSTRUCTION NO. 27:
    8
                Anyone who copies original expression from a copyrighted work during the
    9
          term of the copyright without the owner’s permission infringes the copyright.
   10
                Plaintiff is the owner of a valid copyright in the Miles Davis photograph. On
   11
          the plaintiff’s copyright infringement claim, the plaintiff has the burden of proving by
   12
          a preponderance of the evidence that the defendants copied original expression from
   13
          the copyrighted work.
   14
                If you find that the plaintiff has proved this, and that the plaintiff’s claim is not
   15
          otherwise barred by an affirmative defense (which I will discuss later), then your
   16
          verdict should be for the plaintiff. If, on the other hand, you find that the plaintiff has
   17
          failed to prove that the defendants copied original expression from the copyrighted
   18
          work, your verdict should be for the defendants.
   19

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          DEFENDANTS’ STATEMENT RE: DEFENDANTS’ PROPOSED
   21
          INSTRUCTION NO. 27:
   22
                Defendants’ proposed Instruction No. 27 is a slightly modified version of Ninth
   23
          Circuit Model Instruction No. 17.5.
   24
                There is no dispute that Plaintiff owns a valid copyright in the Miles Davis
   25
          photograph and so that element has been removed from the instruction.
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    1     PLAINTIFF’S STATEMENT RE: DEFENDANTS’ PROPOSED
    2     INSTRUCTION NO. 27:
    3           Defendants’ proposed instructions offers no clarity on the meaning of “original
    4     expression” and does not cue the jury that “original expression” is related to
    5     substantial similarity.
    6           The Court has already found that Plaintiff has satisfied the “copying prong,”
    7     with the only outstanding issue being whether Defendants have copied enough of the
    8     protected expression from the Miles Davis Photograph to render the works
    9     substantially similar with the Tattoo (Defendants do not dispute that they publicly
   10     displayed an exact copy of the Photograph in their social media posts). Accordingly,
   11     the instruction should make clear that the “copying prong” has been shown with
   12     respect to all of Defendants’ uses, and that Plaintiff’s burden is only to prove that the
   13     Photograph and Tattoo are substantially similar.
   14           Plaintiff proposes his jury instruction that is based on the Ninth Circuit Model
   15     Civil Jury Instruction 17.5 and complies with the Court’s Standing Order.
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    1                            INSTRUCTION NO. 28 (UNDISPUTED)
    2             Copyright Infringement – Ownership of Valid Copyright – Definition
    3             The plaintiff is the owner of a valid copyright in the Miles Davis Photograph if
    4     the plaintiff proves by a preponderance of the evidence that, with respect to each
    5     work:
    6             1. the plaintiff’s work is original; and
    7             2. the plaintiff is the author or creator of the work, or received a transfer of the
    8     copyright.
    9

   10     AUTHORITY FOR INSTRUCTION:
   11             Model Civ. Jury Instr. 9th Cir. 17.6 (2017).
   12

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    1                          INSTRUCTION NO. 29 (UNDISPUTED)
    2                Copyright Infringement – Copyright Registration Certificate
    3           A copyright owner may obtain a certificate of registration from the Copyright
    4     Office.
    5           The evidence in this case includes Exhibit 7, a certificate of copyright
    6     registration from the Copyright Office. You are instructed that the certificate is
    7     sufficient to establish that there is a valid copyright in the Miles Davis Photograph.
    8

    9     AUTHORITY FOR INSTRUCTION:
   10           Model Civ. Jury Instr. 9th Cir. 17.7 (2017).
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    1                           INSTRUCTION NO. 30 (UNDISPUTED)
    2                            Copyright Interests – Derivative Work
    3            A copyright owner is entitled to exclude others from creating derivative works
    4     based on the owner’s copyrighted work. The term derivative work refers to a work
    5     based on one or more pre-existing works, such as an art reproduction or any other
    6     form in which the pre-existing work is recast, transformed, or adapted. Accordingly,
    7     the owner of a copyrighted work is entitled to exclude others from recasting,
    8     transforming, or adapting the copyrighted work without the owner’s permission,
    9     unless the derivative work is itself found to be a fair use.
   10            The copyright owner of the pre-existing work may enforce the right to exclude
   11     others in an action for copyright infringement to the extent that the material copied
   12     derived from the pre-existing work.
   13

   14     AUTHORITY FOR INSTRUCTION:
   15            Model Civ. Jury Instr. 9th Cir. 17.15 (2017) (modified to include exception for
   16     fair use).
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    1                            INSTRUCTION NO. 31 (UNDISPUTED)
    2                           Copying – Access and Substantial Similarity
    3           Instruction 27 states that the plaintiff has the burden of proving that the
    4     defendants copied original elements from the plaintiff’s copyrighted work. The
    5     plaintiff may show the defendants copied from the work by proving by a
    6     preponderance of the evidence that the defendants had access to the plaintiff’s
    7     copyrighted work and that there are substantial similarities between the defendants’
    8     work and original elements of the plaintiff’s work.
    9           There is no dispute that Defendants had access to Plaintiff’s copyrighted work.
   10     If you find that the plaintiff has failed to prove substantial similarities between the
   11     defendants’ work and original elements of the plaintiff’s work, your verdict should be
   12     for the defendants.
   13

   14     AUTHORITY FOR INSTRUCTION:
   15           Model Civ. Jury Instr. 9th Cir. 17.17 (2017).
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    1                          INSTRUCTION NO. 32 (UNDISPUTED)
    2                    Copyright Infringement – Copying – Access Defined
    3           As part of its burden in the above Instruction, the plaintiff must prove by a
    4     preponderance of the evidence that defendants had access to the plaintiff’s work at
    5     issue and then created the allegedly infringing work.
    6           It is agreed that the defendants had access to the Miles Davis Photograph.
    7

    8     AUTHORITY FOR INSTRUCTION:
    9           Model Civ. Jury Instr. 9th Cir. 17.18 (2017) (modified to reflect parties’
   10     agreement that access is not in dispute).
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    1                              INSTRUCTION NO. 33 (DISPUTED)
    2                     Substantial Similarity—Extrinsic Test; Intrinsic Test
    3

    4     PLAINTIFF’S PROPOSED INSTRUCTION NO. 33:
    5           A substantial similarity test is not necessary if you determine that Defendants
    6     directly copied the Miles Davis Photograph.
    7           However, to the extent the Court determines that a substantial similarity test
    8     should be performed, Plaintiff must prove substantial similarity under both the
    9     “extrinsic test” and “intrinsic test.”
   10           The “extrinsic test” is an objective comparison of specific expressive elements.
   11     The “intrinsic test” is a subjective comparison that focuses on whether the ordinary,
   12     reasonable audience would find the works substantially similar in the total concept
   13     and feel of the works.
   14           For the extrinsic test, you should examine and compare the similarities in their
   15     “objective details in appearance,” including subject matter, pose, lighting, camera
   16     angle, depth of field, evoking the desired expression in the person depicted, and
   17     almost any other variant involved in the works. The intrinsic test requires a more
   18     holistic, subjective comparison of the works to determine whether they are
   19     substantially similar in “total concept and feel.”
   20           Photographs like the Miles Davis Photograph are entitled to “broad” copyright
   21     protection because there were a great number of choices involved in creating the
   22     Miles Davis Photograph, such as Davis’s highly specific pose, lighting and shadows,
   23     camera angle, and background. You must decide “whether an ordinary reasonable
   24     observer would consider the copyrighted and challenged works substantially similar.”
   25           A photographer's selection and arrangement of a photograph’s otherwise
   26     unprotected elements is protected by copyright. If sufficiently original, the
   27     combination of subject matter, pose, lighting, camera angle, depth of field and the
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    1     like, receives protection. The greater the range of creative choices that may be made,
    2     the broader the level of protection that will be afforded to the resulting image.
    3

    4     AUTHORITY FOR INSTRUCTION:
    5           Model Civ. Jury Instr. 9th Cir. 17.19 (2017); Rentmeester v. Nike, Inc., 883
    6     F.3d 1111, 1118 (9th Cir. 2018); Rogers v. Koons, 960 F.2d 301, 307 (2d Cir. 1992);
    7     Ets–Hokin v. Skyy Spirits, Inc., 323 F.3d 763 (9th Cir. 2003).
    8

    9     PLAINTIFF’S STATEMENT RE: PLAINTIFF’S PROPOSED INSTRUCTION
   10     NO. 33:
   11           In Norse and Range Road, the Ninth Circuit held that a substantial similarity
   12     analysis is irrelevant and unnecessary in a case such as this one involving direct

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          copying of the copyrighted work. Range Road Music, Inc. v. East Coast Foods, Inc.,

   14
          668 F.3d 1148, 1154 (9th Cir. 2012); Norse v. Henry Holt and Co., 991 F.2d 563, 566
          (9th Cir. 1993). Plaintiff’s Instructions are in accord with these decisions, which were
   15
          not addressed by the Court in the summary judgment or reconsideration decisions.
   16
                Defendants cite to Rentmeester and Skidmore, but those cases did not involve
   17
          direct copying. As this Court recognized in its summary judgment order, Rentmeester
   18
          involved two different photographs of Michael Jordan, with “significant differences in
   19
          Jordan’s pose, the specific setting and backdrop, position of the basketball hoop, and
   20
          Jordan’s positioning within the frame” (ECF 69 at 12). The Ninth Circuit held that
   21
          the two photographs were not substantially similar as a matter of law. Rentmeester,
   22
          883 F.3d at 1121. Similarly, in Skidmore, “there [was] no direct evidence that the two
   23
          bands toured together, or that Led Zeppelin band members heard Spirit perform
   24
          Taurus.” Skidmore v. Led Zeppelin, 952 F.3d 1051, 1057 (9th Cir. 2020). Therefore,
   25
          the plaintiff attempted to prove copying “circumstantially”—that “the defendant had
   26
          access to the plaintiff’s work and that the two works share similarities probative of
   27
          copying.” Id. at 1064. Here, by contrast, Defendants admitted to copying the Miles
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    1     Davis Photograph. Both Norse and Range Road remain good law and have continued
    2     to be applied by Courts in this Circuit. Ross-Nash v. Almond, 2020 WL 6947691, at
    3     *3 (D. Nev. Oct. 28, 2020) (granting summary judgment without conducting an
    4     substantial similarity analysis where defendant admitted to copying because it would
    5     be “irrelevant”); Oracle Int'l Corp. v. Rimini St., Inc., 2023 WL 4706127, at *71 (D.
    6     Nev. July 24, 2023) (similar).
    7           The instruction regarding “broad” protection is appropriate because the Court
    8     has already found that the Miles Davis Photograph is entitled to “broad” protection
    9     and provided the basis for that determination. ECF 69, 14 (citing Rentmeester, 883
   10     F.3d at 1120) (finding photograph was entitled to broad protection because the range

   11
          of creative choices was “exceptionally broad” and “very few of those choices were

   12
          dictated by convention or subject matter.”). Plaintiff’s instruction matches the
          language used by the Court in its summary judgment order. ECF 69, 14 (“[T]he
   13
          Court finds the Portrait is entitled to broad protection because there were a great
   14
          number of choices involved in creating the Portrait, such as Davis’s highly specific
   15
          pose, facial expression, lighting and shadows, camera angle, and background for the
   16
          image.”). The jury should be advised on what are the protectible elements of a
   17
          copyrighted photograph. The protectible elements referenced in Plaintiff’s instruction
   18
          are taken from language in Rentmeester, Ets-Hokin, and Rogers.
   19
                The Model Instructions offer a single “substantial similarity” instruction for
   20
          both tests. The Ninth Circuit recently approved the use of a single instruction on both
   21
          the extrinsic and intrinsic tests. Williams v. Gaye, 885 F.3d 1150, 1168 (9th Cir.
   22
          2018) (cited by Model Instructions) (“Instruction 43 further underscores that the
   23
          Gayes ‘must show that there is both substantial extrinsic similarity and substantial
   24
          intrinsic similarity as to that pair of works.’”). Defendants’ instruction is broken
   25
          down into three different instructions which may unnecessarily confuse the jury. A
   26
          single instruction regarding the intrinsic and extrinsic test is more workable for the
   27
          jury and would not be prejudicial to the Defendants.
   28

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    1           The last paragraph of Plaintiff’s proposed instruction comes directly from
    2     Rentmeester v. Nike, Inc., 883 F.3d 1111, 1119 (9th Cir. 2018).
    3

    4     DEFENDANTS’ STATEMENT RE: PLAINTIFF’S PROPOSED
    5     INSTRUCTION NO. 33:
    6           Plaintiff’s first paragraph reflects his previously made argument that a
    7     substantial similarity test may not be necessary if there was direct copying, an
    8     argument that was rejected by this Court as “unpersuasive.” (Dkt. 160, p. 3 n.3.) See
    9     also Rentmeester v. Nike, Inc., 883 F.3d 1111, 1117 (9th Cir. 2018)(“Proof of
   10     unlawful appropriation – that is illicit copying – is necessary because copyright law
   11     does not forbid all copying”); Skidmore v. Led Zeppelin, 952 F.3d 1051, 1064
   12     (2020)(“[t]he second prong of the infringement analysis contains two separate
   13     components: ‘copying’ and ‘unlawful appropriation’ . . . [a]lthough these
   14     requirements are too often referred to in shorthand lingo as the need to prove
   15     ‘substantial similarity’ they are distinct concepts’”). Where unlawful appropriation is
   16     an issue (as it is here), courts continue to require proof of unlawful appropriation even
   17     where direct copying is found. See Talavera v. Glob. Payments, Inc., 2023 WL
   18     3080701 at * 12, 13(S.D. Cal. Apr. 25, 2023)(requiring proof of unlawful
   19     appropriation despite “the clear evidence of copying”).
   20           In the second paragraph of the proposed instruction, it is confusing to talk
   21     about the intrinsic test and the extrinsic test in the same instruction. Defendants
   22     propose a short introductory instruction explaining that there are two separate tests
   23     that the jury must apply (proposed instruction no. 33), a separate instruction
   24     explaining the extrinsic test (proposed instruction no. 34) and a separate instruction
   25     explaining the intrinsic test (proposed instruction no. 35).
   26           The third paragraph of Plaintiff’s proposed instruction is duplicative of the last
   27     paragraph, and is unnecessarily confusing, in particular as to the phrase “objective
   28     details in appearance.”
                                                50
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    1           Plaintiff states that the last paragraph of his instruction comes directly from
    2     Rentmeester, which is true except that Plaintiff omits a critical phrase from the
    3     opinion. What Rentmeester actually says is:
    4                  What is protected by copyright is the photographer’s
    5                  selection and arrangement of the photo’s otherwise
    6                  unprotected elements. If sufficiently original, the
    7                  combination of subject matter, pose, camera angle, etc.
    8                  receives protection, not any of the individual elements
    9                  standing alone.
   10     883 F.3d at 1119 (emphasis added). The boldface language is what Plaintiff
   11     improperly leaves out of the instruction. Defendants have no objection to including
   12     this quotation from Rentmeester in the instruction as long as the bolded language is
   13     included.
   14           Plaintiff’s proposed instruction also includes language that “The greater the
   15     range of creative choices that may be made, the broader the level of protection that
   16     will be afforded to the resulting image.” That language is directly from Rentmeester
   17     and Defendants have no problem with it. However, instead of allowing the jury to
   18     apply this test and determine how broad a level of protection is afforded, the
   19     instruction improperly instructs the jury that Plaintiff’s Photograph is entitled to
   20     “broad” protection. That is for the jury to decide.
   21

   22     DEFENDANTS’ PROPOSED INSTRUCTION NO. 33:
   23           In order to establish copyright infringement, plaintiff must prove by a
   24     preponderance of the evidence that the defendant’s work is substantially similar to
   25     what is protected by copyright law in the plaintiff’s work.
   26           Substantial similarity is determined by an extrinsic and intrinsic test, and the
   27     plaintiff must satisfy both tests to meet his burden.
   28           I will discuss the extrinsic test and the intrinsic test in the next two instructions.
                                                51
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    2     DEFENDANTS’ STATEMENT RE: DEFENDANTS’ PROPOSED
    3     INSTRUCTION NO. 33:
    4           The current version of Ninth Circuit Model Instruction No. 17.19 provides no
    5     default model instruction for all cases and, instead, “recommends that the court and
    6     counsel specifically craft instructions on substantial similarity based on the particular
    7     work(s) at issue, the copyright in question, and the evidence developed at trial.”
    8     Because of the additional details required for the extrinsic test in the context of
    9     photographs, Defendants recommend breaking out the extrinsic test and intrinsic test
   10     into two separate instructions (Nos. 34 and 35, below), and including the above
   11     instruction (No. 33) as an introductory instruction.
   12           The Comment then identifies cases that may provide guidance for formulating
   13     substantial similarity instructions in specific areas, but includes no suggestions for
   14     photographs.
   15           For the introductory instruction (No. 33), Defendants have followed the
   16     language of Antonick v. Elec. Arts, Inc., 841 F.3d 1062 (9th Cir. 2016), which block-
   17     quoted in the Comment to Ninth Circuit Model Instruction No. 17.19, with one
   18     modification. That quotation referred to “specific expressive elements” but in the
   19     context of copyrights in photographs, such a reference is inapplicable and will
   20     confuse the jury. The Ninth Circuit has held that “[p]hotographs cannot be dissected
   21     into protected and unprotected elements in the same way” as other works.
   22     Rentmeester v. Nike, Inc., 883 F.3d 1111, 1119 (9th Cir. 2018) (emphasis added).
   23     Rather, “[w]hat is protected by copyright is the photographer’s selection and
   24     arrangement of the photo’s otherwise unprotected elements,” and “a photographer’s
   25     copyright is limited to ‘the particular selection and arrangement’ of the elements as
   26     expressed in the copyrighted image.” Id. at 1119-20. Defendants thus propose using
   27     the words “what is protected by copyright law,” instead of “specific expressive
   28     elements,” for purposes of this introductory instruction.
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    1           Plaintiff cites to Williams v. Gaye, 885 F.3d 1150, 1163 (9th Cir. 2019) as a
    2     case that “approved” use of a single instruction on both the extrinsic and intrinsic
    3     tests, but it is not at all clear from that case that a single instruction with substantive
    4     explanations of both the extrinsic and intrinsic tests was given and certainly no party
    5     objected to the discussion of both tests in the same instruction.
    6

    7     PLAINTIFF’S STATEMENT RE: DEFENDANTS’ PROPOSED
    8     INSTRUCTION NO. 33:
    9           The Model Instructions offer a single “substantial similarity” instruction for
   10     both tests. The Ninth Circuit recently approved the use of a single instruction on both
   11     the extrinsic and intrinsic tests. Williams v. Gaye, 885 F.3d 1150, 1168 (9th Cir.
   12     2018) (cited by Model Instructions) (“Instruction 43 further underscores that the
   13     Gayes ‘must show that there is both substantial extrinsic similarity and substantial
   14     intrinsic similarity as to that pair of works.’”). Defendants’ instruction is broken
   15     down into three different instructions, which may unnecessarily confuse the jury. A
   16     single instruction regarding the intrinsic and extrinsic test is more workable for the
   17     jury and would not be prejudicial to the Defendants.
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    1                               INSTRUCTION NO. 34 (DISPUTED)
    2                   Substantial Similarity—Extrinsic Test (for Photographs)
    3

    4     DEFENDANTS’ PROPOSED INSTRUCTION NO. 34:
    5            The first step is the extrinsic test. At this step, you are to examine the
    6     similarities between what is protected by copyright law in the plaintiff’s photograph,
    7     on the one hand, with each of the accused infringements, on the other hand.
    8            In the context of photographs, what is it that copyright law protects?
    9     Photographs can be broken down into elements that reflect the various creative
   10     choices the photographer made in composing the image. These creative choices are
   11     elements such as the photograph’s subject matter, pose, lighting, camera angle, depth
   12     of field, and the like.
   13            When viewed in isolation, none of these elements is, by itself, protected by
   14     copyright law. A photographer does not have the exclusive right to photograph a
   15     particular subject matter, like a famous person, just because the photographer was the
   16     first to capture that subject or famous person on film. And even if a photographer
   17     directs his subject to pose in an unusual or distinctive way, that pose, by itself, is not
   18     separately protectible by copyright.
   19            Rather, what is protected by copyright is limited to the particular combination,
   20     selection, and arrangement of these elements, as they are expressed in the copyrighted
   21     photograph. The greater the range of creative choices that may be made, the broader
   22     the level of protection that will be afforded to the resulting image.
   23            It is the plaintiff’s burden to identify the particular combination, selection, and
   24     arrangement of elements expressed in his photograph that he claims is protected by
   25     copyright law.
   26            It is also the plaintiff’s burden to show that each of the accused infringements
   27     is substantially similar to this particular combination, selection, and arrangement of
   28     elements as they are expressed in his photograph.
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    1               If there is no substantial similarity at this first step, then the plaintiff has not
    2     met his burden.
    3

    4     DEFENDANTS’ STATEMENT RE: DEFENDANTS’ PROPOSED
    5     INSTRUCTION NO. 34:
    6               As discussed above with respect to Defendants’ Instruction No. 33, the
    7     Comment to the current Ninth Circuit Instruction No. 17.19 “recommends that the
    8     court and counsel specifically craft instructions on substantial similarity based on the
    9     particular work(s) at issue, the copyright in question, and the evidence developed at
   10     trial.”
   11               The second and third paragraph of the proposed instruction come directly from
   12     the Ninth Circuit’s leading case on that subject, Rentmeester v. Nike, Inc., 883 F.3d
   13     1111, 1119 (9th Cir. 2018): “Photo[graphs] can be broken down into objective
   14     elements that reflect the various creative choices the photographer made in
   15     composing the image – choices related to subject matter, pose, lighting, camera angle,
   16     depth of field, and the like. . . . But none of those elements is subject to copyright
   17     protection when viewed in isolation.”; id.(“With respect to a photograph’s subject
   18     matter, no photographer can claim a monopoly on the right to photograph a particular
   19     subject just because he was the first to capture it on film . . . . Without gainsaying the
   20     originality of the pose Rentmeester created, he cannot copyright the pose itself and
   21     thereby prevent others from photographing a person in the same pose”).
   22               The fourth paragraph of the instruction is also from Rentmeester, 883 F.3d at
   23     1119 (“What is protected by copyright is the photographer’s selection and
   24     arrangement of the photo’s otherwise unprotected elements. If sufficiently original,
   25     the combination of subject matter, pose, camera angle, etc., receives protection, not
   26     any of the individual elements standing alone”); id. at 1120 (“As with any other work,
   27     the greater the range of creative choices that may be made, the broader the level of
   28     protection that will be afforded to the resulting image”).
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    1           The last three paragraphs of the proposed instruction reflect Ninth Circuit law
    2     on the plaintiff’s burden on the extrinsic test. Apple Computer, Inc. v. Microsoft
    3     Corp., 35 F.3d 1435, 1443 (9th Cir. 1994) (under the extrinsic test, the plaintiff must
    4     first identify the alleged similarity between his work and the defendant’s work). This
    5     Court also noted Plaintiff’s obligation to carry this burden in its summary judgment
    6     ruling. Dkt. 69 at 10-11.
    7

    8     PLAINTIFF’S STATEMENT RE: DEFENDANTS’ PROPOSED
    9     INSTRUCTION NO. 34:
   10           First, Defendants’ instruction is broken down into three different instructions
   11     which may unnecessarily confuse the jury. A single instruction regarding the intrinsic
   12     and extrinsic test is more workable for the jury and would not be prejudicial to the
   13     Defendants.
   14           Second, the last three paragraphs of Defendants’ instructions repeat that
   15     plaintiff has the burden in slightly different wording. Such repetition is unnecessary
   16     and prejudicial. Plaintiff’s burden on this issue should be stated only once, the same
   17     way it is done for the other instructions.
   18           Third, Defendants provide prejudicial and one-sided examples of what is not
   19     protectible, which will be confusing to the jury without examples showing what is
   20     protectible. For example, there is no reason to instruct the jury that a photographer
   21     lacks the exclusive right to photograph a famous person. Plaintiff is not alleging that
   22     no one else can photograph or make tattoos of Miles Davis. the Court already
   23     determined that the Miles Davis Photograph is entitled to broad copyright protection.
   24     ECF 69 at 14.
   25           Fourth, Defendants’ instruction fails to consider the Ninth Circuit’s decisions in
   26     Norse and Range Road, which held that a substantial similarity analysis is irrelevant
   27     and unnecessary in a case such as this one involving direct copying of the copyrighted
   28

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    1     work. Range Road Music, Inc. v. East Coast Foods, Inc., 668 F.3d 1148, 1154 (9th
    2     Cir. 2012); Norse v. Henry Holt and Co., 991 F.2d 563, 566 (9th Cir. 1993).
    3           Fifth, Defendants misstate the law by claiming that “what is protected by
    4     copyright is limited to the particular combination, selection, and arrangement of these
    5     elements.” See Ets-Hokin v. Skyy Spirits, 225 F.3d 1068, 1074-75 (9th Cir. 2000)
    6     (“selection of subject, posture, background, lighting, and perhaps even perspective
    7     alone [are] protectable elements of a photographer's work.’” (quoting Los Angeles
    8     News Serv. v. Tullo, 973 F.2d 791, 794 (9th Cir. 1992)).
    9

   10     PLAINTIFF’S PROPOSED INSTRUCTION NO. 34:
   11           Plaintiff’s position is that substantial similarity need not be split into three
   12     separate instructions and that Plaintiff’s Proposed Instruction No. 33 on substantial
   13     similarity is appropriate. The Model Instructions offer a single “substantial
   14     similarity” instruction for both tests. The Ninth Circuit recently approved the use of a
   15     single instruction on both the extrinsic and intrinsic tests. Williams v. Gaye, 885 F.3d
   16     1150, 1163 (9th Cir. 2018) (cited by Model Instructions) (“Instruction 43 further
   17     underscores that the Gayes ‘must show that there is both substantial extrinsic
   18     similarity and substantial intrinsic similarity as to that pair of works.’”).
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    1                            INSTRUCTION NO. 35 (DISPUTED)
    2                             Substantial Similarity—Intrinsic Test
    3

    4     DEFENDANTS’ PROPOSED INSTRUCTION NO. 35:
    5           The second step is the intrinsic test. This is a subjective comparison that
    6     focuses on whether the ordinary, reasonable audience would find the works
    7     substantially similar in the total concept and feel of the works.
    8

    9     DEFENDANTS’ STATEMENT RE: DEFENDANTS’ PROPOSED
   10     INSTRUCTION NO. 35:
   11           As discussed above with respect to Defendants’ Instruction Nos. 33 and 34, the
   12     Comment to the current Ninth Circuit Instruction No. 17.19 “recommends that the
   13     court and counsel specifically craft instructions on substantial similarity based on the
   14     particular work(s) at issue, the copyright in question, and the evidence developed at
   15     trial.” Defendants’ Instruction No. 35, on the intrinsic test, comes from language in
   16     Cavalier v. Random House, Inc., 297 F.3d 815, 822 (9th Cir. 2002) (“The ‘intrinsic
   17     test’ is a subjective comparison that focuses on ‘whether the ordinary, reasonable
   18     audience’ would find the works substantially similar in the ‘total concept and feel of
   19     the works.’”). This Court also cited this language (as quoted in Rentmeester) in its
   20     summary judgment ruling. Dkt. 69 at 16.
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   22     PLAINTIFF’S STATEMENT RE: DEFENDANTS’ PROPOSED
   23     INSTRUCTION NO. 35:
   24           First, Defendants’ instruction is broken down into three different instructions
   25     which may unnecessarily confuse the jury. A single instruction regarding the intrinsic
   26     and extrinsic test is more workable for the jury and would not be prejudicial to the
   27     Defendants.
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    1           Second, Defendants’ instruction is confusing because it uses the contradictory
    2     terms “subjective” along with “ordinary” and “reasonable.” The following language
    3     from Rentmeester is a more recent and clearer articulation of the intrinsic test, and it
    4     should be used here. Rentmeester v. Nike, Inc., 883 F.3d 1111, 1118 (9th Cir. 2018)
    5     (“The intrinsic test requires a more holistic, subjective comparison of the works to
    6     determine whether they are substantially similar in ‘total concept and feel.’”).
    7           Third, Defendants’ instruction fails to consider the Ninth Circuit’s decisions in
    8     Norse and Range Road, which held that a substantial similarity analysis is irrelevant
    9     and unnecessary in a case such as this one involving direct copying of the copyrighted
   10     work. Range Road Music, Inc. v. East Coast Foods, Inc., 668 F.3d 1148, 1154 (9th
   11     Cir. 2012); Norse v. Henry Holt and Co., 991 F.2d 563, 566 (9th Cir. 1993).
   12

   13     PLAINTIFF’S PROPOSED INSTRUCTION NO. 35:
   14           Plaintiff’s position is that substantial similarity need not be split into three
   15     separate instructions and that Plaintiff’s Proposed Instruction No. 33 on substantial
   16     similarity is appropriate. The Model Instructions offer a single “substantial
   17     similarity” instruction for both tests. The Ninth Circuit recently approved the use of a
   18     single instruction on both the extrinsic and intrinsic tests. Williams v. Gaye, 885 F.3d
   19     1150, 1163 (9th Cir. 2018) (cited by Model Instructions) (“Instruction 43 further
   20     underscores that the Gayes ‘must show that there is both substantial extrinsic
   21     similarity and substantial intrinsic similarity as to that pair of works.’”).
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    1                           INSTRUCTION NO. 36 (UNDISPUTED)
    2      Secondary Liability – Vicarious Infringement – Elements and Burden of Proof
    3           If you find that one of the defendants infringed the plaintiff’s copyright in the
    4     Miles Davis Photograph, you must determine whether the other defendant vicariously
    5     infringed that copyright. The plaintiff has the burden of proving each of the following
    6     elements by a preponderance of the evidence:
    7           1. the other defendant directly benefitted financially from the infringing activity
    8     of the defendant that committed direct infringement;
    9           2. the other defendant had the right and ability to supervise or control the
   10     infringing activity of the defendant that committed direct infringement; and
   11           3. the other defendant failed to exercise that right and ability.
   12           If you find that the plaintiff has proved each of these elements as to the
   13     defendant accused of vicarious infringement, your verdict should be for the plaintiff if
   14     you also find that the other defendant committed direct infringement of plaintiff’s
   15     copyright. If, on the other hand, the plaintiff has failed to prove any of these elements,
   16     your verdict should be for the defendant accused of vicarious infringement.
   17

   18     AUTHORITY FOR INSTRUCTION:
   19           Model Civ. Jury Instr. 9th Cir. 17.20 (2017).
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    1                          INSTRUCTION NO. 37 (UNDISPUTED)
    2       Derivative Liability – Contributory Infringement – Elements and Burden of
    3                                              Proof
    4           A defendant may be liable for copyright infringement engaged in by another if
    5     the defendant knew or had reason to know of the infringing activity and intentionally
    6     induced or materially contributed to that infringing activity.
    7           If you find that one of the defendants infringed the plaintiff’s copyright in the
    8     Miles Davis Photograph, you must determine whether the other defendant
    9     contributorily infringed that copyright. The plaintiff has the burden of proving both of
   10     the following elements by a preponderance of the evidence:
   11           1. the defendant knew or had reason to know of the infringing activity of any of
   12     the other defendants; and
   13           2. the defendant intentionally induced or materially contributed to any of the
   14     other defendant’s infringing activity.
   15           If you find that one the defendants infringed the plaintiff’s copyright and you
   16     also find that the plaintiff has proved both of these elements, your verdict should be
   17     for the plaintiff as to those defendants for which these elements were proven. If, on
   18     the other hand, the plaintiff has failed to prove either or both of these elements, your
   19     verdict should be for the defendants.
   20

   21     AUTHORITY FOR INSTRUCTION:
   22           Model Civ. Jury Instr. 9th Cir. 17.21 (2017) (removing bracketed language
   23     regarding proof of intent to induce).
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    1                              INSTRUCTION NO. 38 (DISPUTED)
    2                 Copyright – Affirmative Defense – Fair Use (17 U.S.C. § 107)
    3

    4     PLAINTIFF’S PROPOSED INSTRUCTION NO. 38:
    5           One who is not the owner of the copyright may use the copyrighted work in a
    6     reasonable way under the circumstances without the consent of the copyright owner if
    7     it would advance the public interest. Such use of a copyrighted work is called a fair
    8     use. The owner of a copyright cannot prevent others from making a fair use of the
    9     owner’s copyrighted work.
   10           Defendants contends that they made fair use of the copyrighted work.
   11     Defendants have the burden of proving this defense by a preponderance of the
   12     evidence.
   13           In determining whether the use made of the work was fair, you should consider
   14     the following factors:
   15           (1) the purpose and character of the use, including whether the use is of a
   16     commercial nature or is for nonprofit educational purposes;
   17           (2) the nature of the copyrighted work;
   18           (3) the amount and substantiality of the portion used in relation to the
   19     copyrighted work as a whole;
   20           (4) the effect of the use upon the potential market for or value of the
   21     copyrighted work; and
   22           The Court has already determined that factors (2) and (3) weigh against fair use
   23     for all of Defendants’ uses of the Miles Davis Photograph. For the Tattoo (not
   24     Defendants’ social media uses or line drawing), the Court has found that the purpose
   25     and character of the use under factor (1) weighs against fair use. You must accept the
   26     Court’s determination on these factors.
   27           As to factor (1), the Court has already determined that Defendants did not have
   28     a transformative purpose in making the Tattoo. Your task then is to weigh the lack of
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    1     purpose against the character of the uses, including whether Defendants’ uses were
    2     commercial or nonprofit educational. In determining whether Defendants’ uses were
    3     commercial or nonprofit educational, the distinction is not whether the sole motive of
    4     the use is monetary gain but whether the user stands to benefit from exploitation of
    5     the copyrighted material without paying the customary price.
    6           Regarding factor (4), Defendants, as the proponents of the fair use defense,
    7     must bring forward favorable evidence about relevant markets to prove that
    8     Defendants’ use of the Miles Davis Photograph did not harm the actual or potential
    9     market for the Miles Davis Photograph, including the actual or potential licensing
   10     market. To negate fair use, Plaintiff need only show that if the challenged use should
   11     become widespread, it would adversely affect the potential market for the copyrighted
   12     work. Additionally, the Court has already determined that the Defendants’ uses of the
   13     Miles Davis Photograph in creating the Tattoo was not transformative. As a result,
   14     there is a presumption that Defendants’ creation of the Tattoo caused market harm.
   15           It is not a fair use merely if the derivative work appears in a different media or
   16     environment than the copyrighted work. The copyright owner has an exclusive right
   17     to derivative transformations of his work, even if such transformations are substantial.
   18     Derivative works frequently appear in other media (e.g., movies based a copyrighted
   19     book, sculpture based on copyrighted photograph, documentary using copyrighted
   20     television clips). In these cases, the person or entity creating the derivative work may
   21     still need permission from the copyright owner.
   22           Defendants have the burden of proving that they made fair use for each of their
   23     uses. If you find that Defendants have failed to meet their burden of proving fair use
   24     for any of their uses, your verdict should be for Plaintiff for those uses.
   25

   26     AUTHORITY FOR INSTRUCTION:
   27     Model Civ. Jury Instr. 9th Cir. 17.22 (2017).
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    1     PLAINTIFF’S STATEMENT RE: PLAINTIFF’S PROPOSED INSTRUCTION
    2     NO. 38:
    3           The first factor should include the term “educational.” That language comes
    4     directly from Warhol, the statute, 35 U.S.C. § 107, and the Model Instructions.
    5           The Court has found that the second and third factors weigh against fair use for
    6     both the Tattoo and the social media posts. ECF 160, 12 (“The reasoning applicable
    7     to the second and third factors under the Court’s analysis is also applicable to the
    8     social media posts …”).
    9           Plaintiff objects to instructing the jury that the second factor is not “terribly
   10     significant,” as Defendants have proposed. If this instruction is given, there is
   11     substantial risk that the jury will disregard this factor. This factor is an important part
   12     of the fair use framework. Indeed, in McGucken, the Ninth Circuit found that the
   13     second factor weighed against fair use because, although published, the plaintiff’s
   14     photographs were “creative” and “the product of many technical and artistic
   15     decisions.” McGucken v. Pub Ocean Ltd., 42 F.4th 1149, 1162 (9th Cir. 2022). Thus,
   16     the Ninth Circuit found that each of the four factors “point unambiguously in the
   17     same direction”—against fair use. Id.
   18           Contrary to Defendants’ argument, it is appropriate to instruct the jury that the
   19     Defendants carry the burden on showing a lack of market harm under factor (4). This
   20     instruction is in accord with McGucken. Many of the other jury instructions, such as
   21     substantial similarity, include descriptions of which party carries the burden. The
   22     defendant’s burden relating to the fourth factor should not be treated any differently.
   23           The Supreme Court held in Warhol that “the owner has a right to derivative
   24     transformations of her work. Such transformations may be substantial, like the
   25     adaptation of a book into a movie.” Andy Warhol Found. for the Visual Arts, Inc. v.
   26     Goldsmith, 143 S. Ct. 1258, 1275 (2023). As the Supreme Court found, “that does
   27     not in itself dispense with the need for licensing.” Id. at 1282. As this Court correctly
   28     recognized in its reconsideration order, “Warhol does not change the longstanding
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    1     rule that recasting a photograph into a different visual medium is not sufficiently
    2     transformative. To preserve the copyright owner’s right to make and authorize
    3     derivatives, “the degree of transformation required to make ‘transformative’ [fair] use
    4     of an original must go beyond that required to qualify as a derivative.” ECF 160, 7
    5     (internal citations omitted). Moreover, Defendants fail to recognize that Warhol
    6     requires that the new work have a “critical bearing” on the original.
    7           Plaintiff includes the Court’s determinations on the second and third factors
    8     because these factors have already been decided, and there is no reason for the jury to
    9     revisit them. Plaintiff’s Instructions on factors (1) and (4) come directly from
   10     Worldwide Church of God v. Philadelphia Church of God, Inc., 227 F.3d 1110, 1117
   11     (9th Cir. 2000) and McGucken v. Pub Ocean Ltd., 42 F.4th 1149, 1163 (9th Cir.
   12     2022). The language used from Worldwide Church regarding payment of the
   13     customary price was cited by the Court in its reconsideration order. Further, there is a
   14     presumption of likely market harm where works are found to be not transformative.
   15     Disney Enters. Inc. v. VidAngel, Inc., 869 F.3d 848, 861 (9th Cir. 2017) (“Because the
   16     district court concluded that VidAngel's use was commercial and not transformative,
   17     it was not error to presume likely market harm.”) (citing Leadsinger, Inc. v. BMG
   18     Music Pub., 512 F.3d 522, 531 (9th Cir. 2008) (“[I]t is well accepted that when ‘the
   19     intended use is for commercial gain,’ the likelihood of market harm ‘may be
   20     presumed.’ We have not hesitated to apply this presumption in the past, and we are
   21     not reluctant to apply it here.”) (internal citation omitted)).
   22

   23

   24     DEFENDANTS’ STATEMENT RE: PLAINTIFF’S PROPOSED
   25     INSTRUCTION NO. 38:
   26           Defendants do not object to the first two paragraphs of this proposed
   27     instruction (and have used the same paragraphs in their version of this instruction).
   28     Defendant believes, however, that it would be less confusing for the jury to have
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    1     separate instructions on each of the fair use factors and has provided such separate
    2     instructions.
    3           Defendants object to Plaintiff’s inclusion in the third full paragraph (subpart
    4     (1)) of language suggesting that a non-commercial use must be educational when that
    5     argument was already rejected by the Court. (Dkt. 160, p. 9 n.5 (“Seltzer directly
    6     contradicts Sedlik’s claim that only non-profit education uses are protected by the fair
    7     use doctrine”). See also Warhol, 143 S.Ct. at 1276 (“the fact that a use is commercial
    8     as opposed to nonprofit is an additional ‘element of the first factor’”). The word
    9     “educational” should be deleted.
   10           Defendants object to the fourth full paragraph for the following reasons. In the
   11     first place, with respect to the third factor, the Court in denying both summary
   12     judgment motions on fair use, concluded that the third factor weighed against fair use
   13     but analyzed only the tattoo and not the various social media posts (in particular the
   14     post that showed only a small portion of the in process tattoo) or the sketch. At the
   15     very least, the jury will need to understand the third factor to be able to apply it to the
   16     social media posts and sketch. With respect to the first factor, while the Court
   17     concluded on the motion for reconsideration that there was no evidence that the tattoo
   18     was transformative, it noted that that was only one consideration under the first factor
   19     and that “the first factor cannot be determined as a matter of law. (ECF 160, p. 10.)
   20     The jury must be permitted to take into account all the issues to be considered as part
   21     of the first factor or it will not be able conduct the balancing required under the first
   22     factor. Finally, it would be inappropriate to state that the second factor weighs
   23     against Defendants without also noting that “the second factor ‘typically has not been
   24     terribly significant in the overall fair use balancing[.].” (ECF 160, p. 10, n.6, quoting,
   25     Dr. Seuss Enterprises, L.P. v. ComicMix LLC, 983 F.3d 443, 456 (9th Cir. 2020).)
   26           In the fifth full paragraph, Plaintiff includes language re: the burden of putting
   27     forth evidence which is inappropriate for a jury. Plaintiff also includes language
   28     about “presumptions of market harm” which is not only an incorrect statement of the
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    1     law, but also not appropriate for a jury. See De Fontbrune v. Wofsy, 39 F.4th 1214,
    2     1226 (9th Cir. 2022), cert. denied, 143 S. Ct. 1084 (2023)(presumption of market
    3     harm arises “where the allegedly infringing use is both commercial and non-
    4     transformative”) (emphasis added).
    5           The sixth full paragraph of the instruction on derivative works is not an
    6     accurate statement of the law. Warhol expressly found that, while “the owner has a
    7     right to derivative transformations of her work,” this right is ‘[s]ubject to’ fair use,”
    8     and “[t]he two are not mutually exclusive.” 143 S. Ct. at 1275, quoting 17 U.S.C. §§
    9     106, 107. Rather, a derivative work can be a fair use but the degree of transformation
   10     must “go beyond that required to qualify as a derivative.” Id. Warhol expressly
   11     stated that its analysis “does not mean, however, that derivative works borrowing
   12     heavily from an original cannot be fair uses.” Id. at 1280. In other words, all fair
   13     uses are derivative works; the question is whether weighing its commerciality against
   14     its further purpose and different character results in a finding of fair use.
   15           Defendants refer the Court to its own proposed fair use instructions which they
   16     believe more accurately reflect appropriate law.
   17

   18     DEFENDANTS’ PROPOSED INSTRUCTION NO. 38:
   19           One who is not the owner of the copyright may use the copyrighted work in a
   20     reasonable way under the circumstances without the consent of the copyright owner if
   21     it would advance the public interest. Such use of a copyrighted work is called a fair
   22     use. The owner of a copyright cannot prevent others from making a fair use of the
   23     owner’s copyrighted work.
   24           Defendants Katherine Von Drachenberg and High Voltage Tattoo contend that
   25     they made fair use of the copyrighted work. The Defendants have the burden of
   26     proving this defense by a preponderance of the evidence.
   27           In determining whether the use made of the work was fair, you should consider
   28     the following factors, which I will explain in more detail in subsequent instructions:
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    1            (1) the degree to which the use has a further purpose or different character
    2     weighed against whether the use is commercial as opposed to non-profit;
    3            (2) the nature of the copyrighted work;
    4            (3) the amount and substantiality of the portion used in relation to the
    5     copyrighted work as a whole;
    6            (4) the effect of the use upon the potential market for or value of the
    7     copyrighted work; and
    8            (5) the fundamental rights that individuals have to personal expression and
    9     bodily integrity.
   10            If you find that Defendants Katherine Von Drachenberg and High Voltage
   11     Tattoo have proved by a preponderance of the evidence that they made a fair use of
   12     Plaintiff Jeffrey Sedlik’s copyrighted work, then your verdict should be for the
   13     Defendants.
   14            Now I will further explain each of the five fair use factors.
   15

   16     DEFENDANTS’ STATEMENT RE: DEFENDANTS’ PROPOSED
   17     INSTRUCTION NO. 38:
   18            Defendant’s Proposed Instruction No. 38 is based on the Ninth Circuit’s Model
   19     Instruction No. 17.22, and the recent case Andy Warhol Foundation for the Visual
   20     Arts, Inc. v. Goldsmith, 143 S.Ct. 1258, 1273, 1276 (2023)(Warhol).
   21            The Comment to Model Instruction No. 17.22 makes clear that it is just a
   22     “basic instruction” that “could be supplemented by the court to suggest how the
   23     presence or absence of any particular factor may tend to support or detract from a
   24     finding of fair use.” The Comment then identifies “numerous cases involving
   25     application of the fair use factors” that “might be consulted concerning facts helpful
   26     to assessing whether a particular fair use factor exists.” It is absolutely necessary to
   27     do so here. As the Comment recognizes, the Court here must elaborate upon each of
   28     the fair use factors.
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    1           Defendants’ Proposed Instruction No. 38 identifies a fifth factor that should be
    2     charged to the jury. The Comment to Model Instruction No. 17.22 expressly calls on
    3     the Court to “insert any other factor that bears on the issue of fair use,” and that the
    4     four statutory factors “are by no means exhaustive or exclusive.” Defendants
    5     elaborate on their proposed fifth factor below, in Defendants’ Proposed Instruction
    6     No. 51.
    7

    8     PLAINTIFF’S STATEMENT RE: DEFENDANTS’ PROPOSED
    9     INSTRUCTION NO. 38:
   10           First, Plaintiff believes that Defendants’ nine-part instruction is overreaching,
   11     unnecessarily long and confusing, and will prejudice Plaintiff. Instead, the Court
   12     should adopt Plaintiff’s instruction, for the reasons described above for Plaintiff’s
   13     Proposed Instruction No. 38.
   14           Second, Defendants propose a fifth factor regarding bodily integrity, that is not
   15     part of 17 U.S.C. § 107 and in tension with current U.S. Copyright Office policy.
   16           This Court has rejected Defendants’ arguments that a tattoo creates a different
   17     meaning by virtue of its location on the human body or that tattoo artists should be
   18     treated differently than other artists for purposes of the fair use analysis. ECF 160, 7.
   19     Moreover, the U.S. Copyright Office, to whom the Ninth Circuit accords deference,
   20     recently stated in a court filing that it will treat tattoos no different than other works
   21     under copyright law and classify tattoos as derivative works when based upon non-
   22     tattoo art. ECF 150-4, 9, (for tattoos, the Copyright Office will apply “the same
   23     standard [for original expression] as that required for determining whether a copyright
   24     exists in any work”), 13 (tattoos are derivative works if based on non-tattoo
   25     preexisting work and lack an “appreciable amount” of new material).
   26           Third, Defendants misstate the law by omitting the word “educational” from
   27     the fair use factors. “Educational” appears in Warhol, the Ninth Circuit Model
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    1     Instructions 17.22, and17 U.S.C. § 107. Defendants fail to justify any deviation from
    2     that language.
    3           Fourth, factors two and three have already been found by the Court to weigh
    4     against fair use, and thus, this instruction should include that those factors have
    5     already been determined by the Court as a matter of law to weigh against fair use.
    6           Fifth, the Court has already found that Defendants’ Tattoo does not have a
    7     transformative purpose with respect to factor one. Defendant’s Instruction fails to
    8     mention that determination.
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    1                            INSTRUCTION NO. 39 (DISPUTED)
    2                                Introduction to First Fair Use Factor
    3

    4     DEFENDANTS’ PROPOSED INSTRUCTION NO. 39:
    5           The first fair use factor concerns the purpose and character of the accused use.
    6     This factor requires a balancing of:
    7           (1) whether and to what extent the accused use has a further purpose or
    8     different character, and
    9           (2) whether the accused use is commercial as opposed to non-profit.
   10           A use that has a further purpose or different character is said to be
   11     “transformative.”
   12

   13     DEFENDANTS’ STATEMENT RE: DEFENDANTS’ PROPOSED
   14     INSTRUCTION NO. 39:
   15           This proposed instruction is based on specific language from Warhol 143 S.Ct.
   16     at 1273, 1277 (2023) (“In sum, the first fair use factor considers whether the use of a
   17     copyrighted work has a further purpose or different character, and the degree of
   18     difference must be balanced against the commercial nature of the use”); Id. at 1275
   19     (“A use that has a further purpose or different character is said to be
   20     ‘transformative’”).
   21           Plaintiff’s suggestion Defendants must show that its use was both non-profit
   22     and educational was already rejected by this Court. (ECF 160, p. 9 n.5.)
   23     Furthermore, Plaintiff cherry-picks his citations from Warhol and ignores the section
   24     where Warhol actually discusses the issue and says “the fact that a use is commercial
   25     as opposed to nonprofit is an additional element of the first factor,” without any
   26     mention of educational. Id. at 1276. Nor can Plaintiff point to a single case in which
   27     a court finds that where there is a non-commercial use that is not also educational
   28     non-commerciality does not weigh in favor of fair use.
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    1           Furthermore, contrary to Plaintiff’s argument, Warhol specifically says that
    2     commerciality is weighed against the degree to which the use has a further purpose or
    3     character. Warhol, 143 S.Ct. at 1276 (“The commercial nature of the use . . . is to be
    4     weighed against the degree to which the use has a further purpose or different
    5     character”); id. at 1277 (“the first fair use factor considers whether the use of a
    6     copyrighted work has a further purpose or different character, which is a matter of
    7     degree, and the degree of difference must be balanced against the commercial nature
    8     of the use”).
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   10     PLAINTIFF’S STATEMENT RE: DEFENDANTS’ PROPOSED
   11     INSTRUCTION NO. 39:
   12           First, Defendants misstate the law by deviating from The Ninth Circuit Model
   13     Instructions 17.22, which is based on the exact language of 17 U.S.C. § 107.
   14     Specifically, both Instruction 17.22 and § 107 state “the purpose and character of the
   15     use, including whether the use is of a commercial nature or is for nonprofit
   16     educational purposes.” Warhol also repeatedly uses the “educational” terminology
   17     from the statue. Andy Warhol Found. For the Visual Arts, Inc. v. Goldsmith, 598 U.S.
   18     508, 508–09 (2023) (“In this Court, the sole question presented is whether the first
   19     fair use factor, “the purpose and character of the use, including whether such use is of
   20     a commercial nature or is for nonprofit educational purposes,” § 107(1), weighs in
   21     favor of AWF’s recent commercial licensing to Condé Nast.”). Defendants fail to
   22     justify any deviation from that language.
   23           Second, Defendants misstate the law by attempting to create a two-factor
   24     balancing test between the “further purpose and character” and commerciality.
   25     That is not the law, as stated in § 107. Nor is what is articulated recently by the U.S.
   26     Supreme Court in Warhol. “[T]he first fair use factor instead focuses on whether an
   27     allegedly infringing use has a further purpose or different character, which is a matter
   28     of degree, and the degree of difference must be weighed against other
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    1     considerations, like commercialism.” Andy Warhol Foundation for the Visual Arts,
    2     Inc. v. Goldsmith, 143 S.Ct. 1258, 1273 (2023); accord Campbell v. Acuff-Rose
    3     Music, Inc., 510 U.S. 569, 584 (1994) (“The language of the statute makes clear that
    4     the commercial or nonprofit educational purpose of a work is only one element of the
    5     first factor enquiry into its purpose and character.”).
    6           Third, this Court has already found that Defendants’ Tattoo is not
    7     transformative. Defendants’ instruction fails to mention that, essentially inviting the
    8     jury to reconsider that finding.
    9

   10     PLAINTIFF’S PROPOSED INSTRUCTION NO. 39:
   11           Plaintiff’s position is that fair use need not be split into nine separate
   12     instructions and that Plaintiff’s Proposed Instruction No. 38 on fair use is
   13     appropriate. Under the Ninth Circuit Model Jury Instructions, the fair use factors are
   14     discussed together.
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    1                             INSTRUCTION NO. 40 (DISPUTED)
    2                            First Fair Use Factor – Transformative
    3

    4     DEFENDANTS’ PROPOSED INSTRUCTION NO. 40:
    5           A work is transformative when it adds something new, with a further purpose
    6     or different character, altering the first with new expression, meaning or message.
    7           Analysis of this factor requires review of the specific use that is claimed to be
    8     an infringement. The same copying may be fair when used for one purpose but not
    9     another.
   10           You should compare the challenged uses with the typical use of the original
   11     work. If the environments are distinct and different, this factor weighs in favor of fair
   12     use, If, on the other hand, the challenged use supersedes the objects of the original
   13     work, this factor weighs against fair use.
   14           The first factor relates to the justification of the use. A use that has a distinct
   15     purpose is justified. A use that shares the purpose of a copyrighted work is not.
   16           The meaning or message of the challenged works should be considered to the
   17     extent necessary to determine whether the purpose of the use is distinct from the
   18     original, for instance, because the use comments on, criticizes, or provides
   19     unavailable information about the original.
   20

   21     DEFENDANTS’ STATEMENT RE: DEFENDANTS’ PROPOSED
   22     INSTRUCTION NO. 40:
   23           The first paragraph of the proposed instruction comes from Campbell v. Acuff-
   24     Rose Music, Inc., 510 U.S. 569, 581 (1994) (“A work is transformative when it ‘adds
   25     something new, with a further purpose or different character, altering the first with
   26     new expression, meaning, or message[]”).
   27           The second paragraph of the instruction is from Warhol, 143 S.Ct. at 1277
   28     (“The fair use provision, and the first factor in particular, requires an analysis of the
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    1     specific ‘use’ of a copyrighted work that is alleged to be ‘an infringement’ . . . . The
    2     same copying may be fair when used for one purpose but not another”).
    3           The third paragraph of the instruction is based on Warhol, 143 S.Ct. at 1278-79
    4     (“Both are portraits of Prince used in magazines to illustrate stories about Prince.
    5     Such ‘environment[s]’ are not ‘distinct and different’ . . . . AWF’s licensing of the
    6     Orange Prince image thus ‘supersede[d] the objects,’ . . . shared the objectives of
    7     Goldsmith’s photograph, even if the two were not perfect substitutes”).
    8           The fourth paragraph of the instruction is from Warhol, 143 S.Ct. at 1276 (“the
    9     first factor also relates to the justification for the use. In a broad sense, a use that has
   10     a distinct purpose is justified because it furthers the goal of copyright. . . .. A use that
   11     shares the purpose of a copyrighted work, by contrast, is more likely to provide ‘the
   12     public with a substantial substitute for matter protected by the [copyright owner’s
   13     interests in the original wor[k] or derivatives of [it] . . . which undermines the goals of
   14     copyright.”
   15           The fifth paragraph of the instruction comes directly from Warhol, 143 S.Ct. at
   16     1284 (“the meaning of a secondary work, as reasonably can be perceived, should be
   17     considered to the extent necessary to determine whether the purpose of the use is
   18     distinct from the original, for instance, because the use comments on, criticizes, or
   19     provides otherwise unavailable information about the original.”).
   20           Plaintiff objects to this instruction on the ground that the Court already found
   21     that the tattoo is not transformative (in the order on the motions for reconsideration
   22     (Dkt. 160).) But the Court made no such finding as to the sketch and social media
   23     posts and the jury will need to determine whether or not those are transformative.
   24     Furthermore, even as to the tattoo, the Court found the first fair use factor could not
   25     be determined as a matter of law because there was still as dispute of fact as to
   26     commerciality. (Dkt. 160, pp. 8-9.) The jury will need to weigh degree of
   27     transformativeness and commerciality as part of this first factor and thus must be
   28     instructed as to what makes a use transformative.
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    1     PLAINTIFF’S STATEMENT RE: DEFENDANTS’ PROPOSED
    2     INSTRUCTION NO. 40:
    3           This Court has already found that Defendants’ tattoo is not transformative.
    4     Defendants’ instruction essentially invites the jury to reconsider that finding by the
    5     Court. Moreover, Defendants continue to advance the erroneous argument, which the
    6     Court has already rejected, that a derivative work is transformative because it appears
    7     in a distinct or different medium or environment. Rogers v. Koons, 960 F.2d 301, 312
    8     (2d Cir. 1992) (not fair use to use a photograph as a reference to make a derivative
    9     sculpture); ECF 160, 7. Defendants also continue to advance the false argument that
   10     a work is transformative if it carries a new “meaning or message.” Warhol rejected
   11     that view of transformation.
   12           Defendants’ instruction is further not consistent with Warhol. Under Warhol,
   13     the justification for the use of a copyrighted work must be “compelling,” and the use
   14     of the work must be necessary to provide comment or have critical bearing on the
   15     original work. Warhol, 143 S. Ct. at 1276-77, 1285-86. The requirement to comment
   16     on the original work also applies to intermediate copies. Disney Enterprises, Inc. v.
   17     VidAngel, Inc., 869 F.3d 848, 862 & n.12 (9th Cir. 2017) (finding that intermediate
   18     copies of movies were not fair use because they were not done for “study or
   19     examination” of the original works, but for commercial purposes).
   20

   21     PLAINTIFF’S PROPOSED INSTRUCTION NO. 40:
   22           Plaintiff’s position is that fair use need not be split into nine separate
   23     instructions and that Plaintiff’s Proposed Instruction No. 38 on fair use is
   24     appropriate. Under the Ninth Circuit Model Jury Instructions, the fair use factors are
   25     discussed together.
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    1                              INSTRUCTION NO. 41 (DISPUTED)
    2                            First Fair Use Factor – Commercial Use
    3

    4     DEFENDANTS’ PROPOSED INSTRUCTION NO. 41:
    5            In evaluating the first fair use factor, the extent of the commercial nature of the
    6     accused use must also be considered.
    7            You must consider the degree to which the Defendants exploited the copyright
    8     for commercial gain, as opposed to incidentally using the copyrighted material as part
    9     of a commercial enterprise.
   10            Finding that the use was not commercial tips the scales in favor of fair use.
   11     However, the inverse is not necessarily true: a use can be indisputably commercial but
   12     still be found to be a fair use.
   13            To put it differently, the more transformative an accused work, the more other
   14     factors, such as commercialism, will decrease in importance. By contrast, the less
   15     transformative the accused work, the more other factors like commercialism will
   16     increase in importance.
   17

   18     DEFENDANTS’ STATEMENT RE: DEFENDANTS’ PROPOSED
   19     INSTRUCTION NO. 41:
   20            This second paragraph of this proposed instruction comes from Seltzer v. Green
   21     Day, Inc., 725 F.3d 1170, 1178 (9th Cir. 2013) (“Furthermore, although the statute
   22     instructs us to consider the ‘commercial nature’ of a work . . . ‘the degree to which the
   23     new user exploits the copyright for commercial gain—as opposed to incidental use as
   24     part of a commercial enterprise—affects the weight we afford commercial nature as a
   25     factor.’”).
   26            The third paragraph of this proposed instruction comes from Google LLC v.
   27     Oracle Am., Inc., 141 S. Ct. 1183, 1204 (2021) (“There is no doubt that a finding that
   28     copying was not commercial in nature tips the scales in favor of fair use. But the
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    1     inverse is not necessarily true, as many common fair uses are indisputably
    2     commercial.”). See also Hannley v. Mann, 2023 WL 3407183, at *3 (C.D. Cal. Mar.
    3     8, 2023)(“Noncommercial or nonprofit use of a copyrighted work is presumptively
    4     fair.”), citing Sony Corp. of Am. v. Universal City Studios, Inc., 464 U.S. 417, 449
    5     (1984). Contrary to Plaintiff’s argument, Google is not specifically limited to cases
    6     involving computer programs and the particular language at issue here has been
    7     followed in multiple cases not involving computer programs. See Bell v. Eagle
    8     Mountain Saginaw Indep. Sch. Dist., 27 F.4th 313, 322 (5th Cir. 2022); Larson v.
    9     Dorland, 2023 WL 5985251, at *12 (D. Mass. Sept. 14, 2023); Facility Guidelines
   10     Inst., Inc. v. UpCodes, Inc., 2023 WL 4026185, at *9 (E.D. Mo. June 15, 2023)(all
   11     quoting the relevant language of Google with approval).
   12           The fourth paragraph comes from Campbell v. Acuff-Rose Music, Inc., 510 U.S.
   13     569, 579 (1994)(“The more transformative the new work, the less will be the
   14     significance of other factors, like commercialism, that may weigh against a finding of
   15     fair use”); id. at 580 (the less transformative, “the claim to fairness in borrowing from
   16     another’s work diminishes accordingly (if it does not vanish), and other factors, like
   17     the extent of its commerciality, loom larger”).
   18           Plaintiff’s suggestion that Warhol superseded Seltzer on the issue of whether a
   19     non-commercial use must also be “educational” is wrong both because that wasn’t an
   20     issue in Warhol (where the use was unquestionably commercial) and because Plaintiff
   21     cherry-picks his citations from Warhol and ignores the section where Warhol actually
   22     discusses the text and says “the fact that a use is commercial as opposed to nonprofit
   23     is an additional element of the first factor,” without any mention of educational. Id. at
   24     1276. Nor can Plaintiff point to a single case in which a court finds that where there
   25     is a non-commercial use that is not also educational that the non-commerciality
   26     doesn’t weigh in favor of fair use. Numerous cases hold that opposite: that a non-
   27     commercial use that is not educational weighs in favor of fair use. See, e.g., Sony
   28     Corp. of Am. v. Universal City Studios, Inc., 464 U.S. 417, 449 (1984)(“time-shifting
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    1     for private home use” must be “characterized as a noncommercial, nonprofit activity”
    2     weighing in favor of fair use); Lewis Galoob Toys, Inc. v. Nintendo of Am., Inc., 780
    3     F. Supp. 1283, 1293 (N.D. Cal. 1991), aff'd, 964 F.2d 965 (9th Cir.), cert. denied, 507
    4     U.S. 985 (1992)(“a family's use of a Game Genie for private home enjoyment must be
    5     characterized as a non-commercial, nonprofit activity . . . establish[ing] a
    6     presumption of fair use”).
    7

    8     PLAINTIFF’S STATEMENT RE: DEFENDANTS’ PROPOSED
    9     INSTRUCTION NO. 41:
   10           Defendants rely heavily on Seltzer throughout these instructions. The Supreme
   11     Court’s clarifications of the first fair use factor in Andy Warhol Found. for the Visual
   12     Arts, Inc. v. Goldsmith, supersedes prior Ninth Circuit caselaw, including Seltzer v.
   13     Green Day, Inc., 725 F.3d 1170, 1176 (9th Cir. 2013). Specifically, both Warhol and
   14     § 107(1) make clear that the question is “whether such use is of a commercial nature
   15     or is for nonprofit educational purposes.” 143 S. Ct. 1258, 1266, 1272, 1274, 1287
   16     (2023) (stating this exact dichotomy four separate times); accord Campbell v. Acuff-
   17     Rose Music, Inc., 510 U.S. 569, 584 (1994) (“The language of the statute makes clear
   18     that the commercial or nonprofit educational purpose of a work is only one element of
   19     the first factor enquiry into its purpose and character.”); Monge v. Maya Magazines,
   20     Inc., 688 F.3d 1164, 1172 (9th Cir. 2012) (same); Worldwide Church of God v.
   21     Philadelphia Church of God, Inc., 227 F.3d 1110, 1117 (9th Cir. 2000) (same).
   22           Defendants’ instruction fails to apply the Ninth Circuit’s test in Worldwide
   23     Church of God regarding the profit/nonprofit distinction, which this Court cited in its
   24     decision on reconsideration. “The crux of the profit/nonprofit distinction is not
   25     whether the sole motive of the use is monetary gain but whether the user stands to
   26     profit from exploitation of the copyrighted material without paying the customary
   27     price.” Worldwide Church of God v. Philadelphia Church of God, Inc., 227 F.3d
   28     1110, 1117 (9th Cir. 2000).
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    1           Further, the U.S. Supreme Court has rejected Defendants’ claim that non-
    2     commercial use is “presumptively fair.” “The language of the statute makes clear that
    3     the commercial or nonprofit educational purpose of a work is only one element of the
    4     first factor enquiry into its purpose and character. Section 107(1) uses the term
    5     ‘including’ to begin the dependent clause referring to commercial use, and the main
    6     clause speaks of a broader investigation into ‘purpose and character.’” Campbell v.
    7     Acuff-Rose Music, Inc., 510 U.S. 569, 584 (1994). “Accordingly, the mere fact that a
    8     use is educational and not for profit does not insulate it from a finding of
    9     infringement, any more than the commercial character of a use bars a finding of
   10     fairness.” Id.
   11           Defendants’ reliance on Google LLC v. Oracle Am., Inc., 141 S. Ct. 1183, 1204
   12     (2021) is also misplaced. That case is specifically limited to cases involving computer
   13     programs that are primarily functional and does not apply to other cases, like creative
   14     works, involving fair use. Id. at 1208.
   15

   16     PLAINTIFF’S PROPOSED INSTRUCTION NO. 41:
   17           Plaintiff’s position is that fair use need not be split into nine separate
   18     instructions and that Plaintiff’s Proposed Instruction No. 38 on fair use is
   19     appropriate. Under the Ninth Circuit Model Jury Instructions, the fair use factors are
   20     discussed together.
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    1                            INSTRUCTION NO. 42 (DISPUTED)
    2                                     Second Fair Use Factor
    3

    4     DEFENDANTS’ PROPOSED INSTRUCTION NO. 42:
    5            The second fair use factor is the nature of the copyrighted work. The more
    6     creative the copyrighted work is, the more this factor weighs against fair use.
    7            You must also consider the extent to which the copyrighted work has been
    8     published. When a copyrighted work has already been published, the artist has been
    9     able to control the first public appearance of his or her work. Thus, the more that a
   10     copyrighted work has been previously published, the more this factor weighs in favor
   11     of fair use.
   12

   13     DEFENDANTS’ STATEMENT RE: DEFENDANTS’ PROPOSED
   14     INSTRUCTION NO. 42:
   15            This proposed instruction is based on Seltzer v. Green Day, Inc., 725 F.3d
   16     1170, 1178 (9th Cir. 2013) (“Mitigating this factor in favor of Green Day is that we
   17     are instructed to consider the extent to which a work has been published.”; “The fact
   18     that a work is unpublished is a critical element of its ‘nature.’”) (citing Harper & Row
   19     Publishers, Inc. v. Nation Enters., 471 U.S. 539, 546 (1985)); Kelly v. Arriba Soft
   20     Corp., 336 F.3d 811, 820 (9th Cir. 2003) (“Published works are more likely to qualify
   21     as fair use because the first appearance of the artist's expression has already
   22     occurred.”); Monge v. Maya Mags., Inc., 688 F.3d 1164, 1177 (9th Cir. 2012);
   23            “Under the second factor, we address two aspects of the work: the extent to
   24     which it is creative and whether it is unpublished.”)
   25            Plaintiff argues that no instruction on the second factor need be given that the
   26     Court, in its motion for reconsideration, found that the second factor favors Plaintiff.
   27     However, the Court also found that “the ‘four statutory factors [should not] be treated
   28     in isolation one from another. All are to be explored and the results weighed together .
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    1     . . .” (ECF 160, p. 10, quoting, Campbell, 510 U.S. at 578.) The jury cannot weigh
    2     this factor if it doesn’t understand what the factor is. In addition, if the Court is to
    3     instruct the jury that the second factor has been decided in Plaintiff’s favor, it should
    4     also instruct the jury that “the second factor ‘typically has not been terribly significant
    5     in the overall fair use balancing.’” (ECF 160, p. 10, n. 6, quoting, Dr. Seuss, 983 F.3d
    6     at 456.)
    7

    8     PLAINTIFF’S STATEMENT RE: DEFENDANTS’ PROPOSED
    9     INSTRUCTION NO. 42:
   10            No instruction is needed on the second factor because the Court already found
   11     on reconsideration that the second factor weighs against fair use. (ECF No. 160, 9-10,
   12     n.6.) The jury should be informed of the Court’s finding and instructed to accept it.
   13     Defendants’ instruction invites the jury to reconsider the Court’s finding, which
   14     would be entirely improper. As the Court found, publication does not weigh in favor
   15     of fair use, contrary to Defendants’ instruction. Dr. Seuss Enterprises, L.P. v.
   16     ComicMix LLC, 983 F.3d 443, 456 (9th Cir. 2020) (“[N]either Harper & Row nor any
   17     principle of fair use counsels that the publication of the copyrighted work weighs in
   18     favor of fair use.”).
   19

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   21     PLAINTIFF’S PROPOSED INSTRUCTION NO. 42:
   22            Plaintiff’s position is that fair use need not be split into nine separate
   23     instructions and that Plaintiff’s Proposed Instruction No. 38 on fair use is
   24     appropriate. Under the Ninth Circuit Model Jury Instructions, the fair use factors are
   25     discussed together.
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    1                                 INSTRUCTION NO. 43 (DISPUTED)
    2                                       Third Fair Use Factor
    3

    4     DEFENDANTS’ PROPOSED INSTRUCTION NO. 43:
    5            The third fair use factor is the amount and substantiality of the portion used in
    6     relationship to the copyrighted work as a whole. This factor looks to the quantitative
    7     amount and qualitative value of the original work used, and how that use relates to the
    8     justification for it use.
    9            When an accused work copies little of the original work, then this factor
   10     weighs in favor of fair use. Conversely, when an accused work copies most of the
   11     original work, then this factor weighs against fair use.
   12            However, if the original work is not capable of being divided up into
   13     meaningful portions, and if the secondary user only copies as much as is necessary for
   14     a transformative use, then this factor will not weigh against fair use, even if the
   15     secondary user copies the whole of the original work.
   16            The extent of permissible copying varies with the purpose and character of the
   17     use, which relates back to the first fair use factor.
   18

   19     DEFENDANTS’ STATEMENT RE: DEFENDANTS’ PROPOSED
   20     INSTRUCTION NO. 43:
   21            This proposed instruction is based on Campbell v. Acuff-Rose Music, Inc., 510
   22     U.S. 569, 586 (1994) (“The third factor asks whether ‘the amount and substantiality
   23     of the portion used in relation to the copyrighted work as a whole,’ . . . (or, in Justice
   24     Story's words, ‘the quantity and value of the materials used,’ . . . are reasonable in
   25     relation to the purpose of the copying”); Seltzer v. Green Day, Inc., 725 F.3d 1170,
   26     1178-79 (9th Cir. 2013) (“However, unlike an episode of the Ed Sullivan show or a
   27     book manuscript, Scream Icon is not meaningfully divisible. Given that fact, this
   28     court has acknowledged that this factor will not weigh against an alleged infringer,
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    1     even when he copies the whole work, if he takes no more than is necessary for his
    2     intended use); Kelly v. Arriba Soft Corp., 336 F.3d 811, 820–21 (9th Cir. 2003)(“If
    3     the secondary user only copies as much as is necessary for his or her intended use,
    4     then this factor will not weigh against him or her”).
    5              Plaintiff argues that no instruction is needed on this factor because the Court
    6     already found that the third factor weighed against fair use. But in its summary
    7     judgment order, the Court conducted an analysis of the third factor only as to the
    8     tattoo, and not as to the social media posts or sketch. The jury will need to conduct
    9     their own analysis as to those challenged uses (some of which use small portions of
   10     the photograph at issue). Furthermore, as to the tattoo itself, the jury must analyze
   11     and consider together all of the fair use factors and therefore must know the elements
   12     of this factor.
   13

   14     PLAINTIFF’S STATEMENT RE: DEFENDANTS’ PROPOSED
   15     INSTRUCTION NO. 43:
   16              No instruction is needed on the third factor because the Court already found
   17     that the third factor weighs against fair use. (ECF No. 69, 23.) The jury should be
   18     informed of the Court’s finding and instructed to accept it. Defendants’ instruction
   19     invites the jury to reconsider this finding, which would be entirely improper.
   20              The Court has found that the second and third factors weigh against fair use for
   21     both the Tattoo and the social media posts. ECF 160, 12 (“The reasoning applicable
   22     to the second and third factors under the Court’s analysis is also applicable to the
   23     social media posts …”).
   24              For example, Defendants’ instruction includes terms such as “quantitative
   25     amount,” “qualitative value,” and “meaningful portions,” that are likely to confuse the
   26     jury.
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    1     PLAINTIFF’S PROPOSED INSTRUCTION NO. 43:
    2           Plaintiff’s position is that fair use need not be split into nine separate
    3     instructions and that Plaintiff’s Proposed Instruction No. 38 on fair use is
    4     appropriate. Under the Ninth Circuit Model Jury Instructions, the fair use factors are
    5     discussed together.
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    1                            INSTRUCTION NO. 44 (DISPUTED)
    2                                    Fourth Fair Use Factor
    3

    4     DEFENDANTS’ PROPOSED INSTRUCTION NO. 44:
    5           The fourth fair use factor is the effect of the accused infringer’s use on the
    6     potential market for or value of the copyrighted work. This factor weighs against fair
    7     use if the accused use materially impairs the marketability or value of the copyrighted
    8     work. This factor considers three issues.
    9           The first issue that the fourth fair use factor considers is whether the accused
   10     work is offered or used as a substitute for the original copyrighted work. If the
   11     accused work serves a different market function, and does not substitute for the
   12     original copyrighted work, then this factor weights in favor of fair use.
   13           The second issue that the fourth fair use factor considers is whether unrestricted
   14     and widespread use of the copyrighted materials of the sort engaged in by the accused
   15     infringer would result in a substantially adverse impact on the potential market for or
   16     value of the copyrighted work. A potential market is one that is traditional,
   17     reasonable, or likely to be developed.
   18           The third issue that the fourth fair use factor considers is whether there are
   19     public benefits that are likely to be produced by allowing the kind of copying engaged
   20     in by the Defendants, such as whether allowing the kind of use engaged in by the
   21     Defendants would produce a public benefit of encouraging the creative production of
   22     new expression.
   23

   24     DEFENDANTS’ STATEMENT RE: DEFENDANTS’ PROPOSED
   25     INSTRUCTION NO. 44:
   26           The second paragraph of the proposed instruction comes from Seltzer v. Green
   27     Day, Inc., 725 F.3d 1170, 1179 (9th Cir. 2013) (“Where the allegedly infringing use
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    1     does not substitute for the original and serves a ‘different market function,’ such
    2     factor weighs in favor of fair use.”).
    3            The third and fourth paragraphs of the proposed instruction come from Seltzer,
    4     725 F.3d at 1179 (“The fourth factor asks what effect the allegedly infringing use has
    5     on the ‘potential market for or value of the copyrighted work.’ . . . This factor should
    6     consider ‘the extent of market harm caused by the particular actions of the alleged
    7     infringer [and] also whether unrestricted and widespread conduct of the sort engaged
    8     in by the defendant would result in a substantially adverse impact on the potential
    9     market for the original.’; “This factor also considers any impact on ‘traditional,
   10     reasonable, or likely to be developed markets.’”); Google LLC v. Oracle Am., Inc.,
   11     141 S. Ct. 1183, 1207 (2021) (citing Prof. Nimmer’s treatise to “caution[] against the
   12     ‘danger of circularity posed’ by considering unrealized licensing opportunities
   13     because ‘it is a given in every fair use case that plaintiff suffers a loss of a potential
   14     market if that potential is defined as the theoretical market for licensing the very use
   15     at bar”).
   16            The fifth paragraph of the proposed instruction comes from Google LLC, 141
   17     S. Ct. at 1206 (“Further, we must take into account the public benefits the copying
   18     will likely produce. Are those benefits, for example, related to copyright’s concern for
   19     the creative production of new expression?”); id. at 1208 (concluding that “the risk of
   20     creativity-related harms to the public,” when taken with other considerations,
   21     “convince that this fourth factor—market effects—also weighs in favor of fair use”).
   22

   23     PLAINTIFF’S STATEMENT RE: DEFENDANTS’ PROPOSED
   24     INSTRUCTION NO. 44:
   25            Defendants’ instruction (including on the burden of proof and unrealized
   26     licensing opportunities) conflicts directly with the Ninth Circuit’s recent decision in
   27     McGucken, a case involving the unauthorized use of copyrighted photographs.
   28     McGucken v. Pub Ocean Ltd., 42 F.4th 1149, 1163 (9th Cir. 2022). McGucken held
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    1     that Defendants, as the proponents of the fair use defense, “must bring forward
    2     favorable evidence about relevant markets.” Id. “To negate fair use, [the plaintiff]
    3     need only show that if the challenged use should become widespread, it would
    4     adversely affect the potential market for the copyrighted work.” Id. In McGucken, the
    5     Ninth Circuit held that although there was “little direct evidence of actual market
    6     harm,” the defendant failed to carry its burden. Id. The Ninth Circuit also considered
    7     the impact if similar type of conduct was carried out by others.
    8           Seltzer, a case involving the use of an artist’s illustration in a rock band
    9     backdrop, conflicts with McGucken because Seltzer placed the burden on the plaintiff.
   10     Seltzer v. Green Day, Inc., 725 F.3d 1170, 1179 (9th Cir. 2013) (“according to
   11     Seltzer's declaration, Scream Icon was used in a music video by a band named
   12     ‘People.’ Seltzer provides no additional information about this licensing, including
   13     how much revenue he earned as a result, how the music video was used by the band,
   14     or how the music video used Scream Icon.”). Moreover, Warhol supersedes Seltzer
   15     as discussed above.
   16           Defendants’ reliance on Google is misplaced because that case involved
   17     copyrighted software, not photographs.
   18           Further, there is a presumption of likely market harm where works are found to
   19     be not transformative. Disney Enters. Inc. v. VidAngel, Inc., 869 F.3d 848, 861 (9th
   20     Cir. 2017) (“Because the district court concluded that VidAngel's use was commercial
   21     and not transformative, it was not error to presume likely market harm.”) (citing
   22     Leadsinger, Inc. v. BMG Music Pub., 512 F.3d 522, 531 (9th Cir. 2008) (“[I]t is well
   23     accepted that when ‘the intended use is for commercial gain,’ the likelihood of market
   24     harm ‘may be presumed.’ We have not hesitated to apply this presumption in the
   25     past, and we are not reluctant to apply it here.”) (internal citation omitted))..
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    1     PLAINTIFF’S PROPOSED INSTRUCTION NO. 44:
    2           Plaintiff’s position is that fair use need not be split into nine separate
    3     instructions and that Plaintiff’s Proposed Instruction No. 38 on fair use is
    4     appropriate. Under the Ninth Circuit Model Jury Instructions, the fair use factors are
    5     discussed together.
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    1                              INSTRUCTION NO. 45 (DISPUTED)
    2              Fifth Fair Use Factor: Personal Expression and Bodily Integrity
    3

    4     DEFENDANTS’ PROPOSED INSTRUCTION NO. 45:
    5            The fifth fair use factor you should consider is the following. You should
    6     consider the fundamental rights of Katherine Von Drachenberg’s client, Blake
    7     Farmer, to personal expression and bodily integrity
    8            Tattoos and the process of tattooing are forms of pure expression that are fully
    9     protected by the First Amendment to the United States Constitution.
   10            Individuals have, in general, a fundamental right to bodily integrity, which
   11     means a right to make decisions about control over one’s own body.
   12            In deciding whether the use of the Miles Davis Photograph to create a tattoo
   13     was a fair use, you should consider the fundamental rights of Blake Farmer to make
   14     decisions about how to express himself through permanent markings on his body.
   15

   16     DEFENDANTS’ STATEMENT RE: DEFENDANTS’ PROPOSED
   17     INSTRUCTION NO. 45:
   18            The Comment to Ninth Circuit Model Instruction No. 17.22 expressly calls on
   19     the Court to “insert any other factor that bears on the issue of fair use,” and that the
   20     four statutory factors “are by no means exhaustive or exclusive.” See also 4 Nimmer
   21     on Copyright § 13F.09[B](“Consider that the factors listed in the statute are preceded
   22     by the word ‘shall include,’ and that the statute as a whole defines the term
   23     ‘including’ as ‘illustrative and not limitative’ . . . [for that reason, the four factors
   24     contained in Section 107 stand by way of example, rather than being an exhaustive
   25     illumination”).
   26            The Supreme Court has twice emphasized that the fair use doctrine, along with
   27     the idea/expression dichotomy, are vital protections against overexpansion of
   28     copyright monopolies to protect the First Amendment interests that subsequent
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    1     speakers have in building on existing works. See Golan v. Holder, 565 U.S. 302, 328
    2     (2012) (“Both are recognized in our jurisprudence as ‘built-in First Amendment
    3     accommodations’”); Eldred v. Ashcroft, 537 U.S. 186, 219-20 (2003) (same).
    4           Closely related to the vital First Amendment interests in free expression are the
    5     fundamental rights of individuals to express themselves through permanent markings
    6     on their bodies. This ties in with the fundamental right individuals have to bodily
    7     integrity. See Cruzan v. Director, Mo. Dept. of Health, 497 U.S. 261, 269 (1990)
    8     (“Every human being of adult years and sound mind has a right to determine what
    9     shall be done with his own body.”); Washington v. Glucksberg, 521 U.S. 702, 720
   10     (1997) (identifying “bodily integrity” as among the “fundamental rights and liberty
   11     interests” for which the Due Process Clause “provides heightened protection against
   12     government interference”). In the context of deciding the constitutionality of a
   13     municipality’s ban on tattoo parlors, the Ninth Circuit has expressly held “that the
   14     tattoo itself, the process of tattooing, and the business of tattooing are forms of pure
   15     expression fully protected by the First Amendment.” Anderson v. City of Hermosa
   16     Beach, 621 F.3d 1051, 1068 (9th Cir. 2010).
   17           Plaintiff cites to a decision by the U.S. Copyright Office which he claims holds
   18     that “it will treat tattoos no different than other works under copyright law.” But
   19     that’s not what the decision says and it has no application here. The request to which
   20     the U.S. Copyright office responded came up in a context that has no relation to the
   21     issue here. A tattoo artist copyrighted several tattoo designs and was in a dispute with
   22     a video game company who depicted NBA players in its game bearing his tattoo
   23     designs. (ECF 150, p. 4.) That case – and the decision by the U.S. Copyright office –
   24     addresses questions about whether the fact that the designs incorporated pre-existing
   25     material would have prevented them from being registered. It says nothing about
   26     whether a permanent tattoo on a human body can constitute copyright infringement.
   27           While Plaintiff did not sue Blake Farmer, he is seeking a finding that a tattoo
   28     inked on Blake Farmer’s body is a copyright infringement (and not a fair use), and a
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    1     finding that a tattoo is a copyright infringement would be the basis of other artists
    2     bringing infringement claims against individuals based on their tattoos. The jury
    3     should be able to consider the impact of the fundamental rights of bodily integrity of
    4     the person being tattooed.
    5

    6     PLAINTIFF’S STATEMENT RE: DEFENDANTS’ PROPOSED
    7     INSTRUCTION NO. 45:
    8           There is no fifth factor in the statute or Ninth Circuit Model Instructions. This
    9     Court has rejected Defendants’ arguments that a tattoo creates a different meaning by
   10     virtue of its location on the human body or that tattoo artists should be treated
   11     differently than other artists for purposes of the fair use analysis. The U.S. Copyright
   12     Office, to whom the Ninth Circuit accords deference, recently stated that it will treat
   13     tattoos no different than other works under copyright law and classify tattoos as
   14     derivative works when based upon non-tattoo art. ECF 150-4 (Copyright Office
   15     Response in Hayden v. 2K Games Inc.) (for tattoos, the Copyright Office will apply
   16     “the same standard [for original expression] as that required for determining whether
   17     a copyright exists in any work”), 13 (tattoos are derivative works if based on non-
   18     tattoo preexisting work and lack an “appreciable amount” of new material).
   19     Moreover, the only party who could possibly claim body integrity is Mr. Farmer, who
   20     is not a party to this litigation. This case is about the unauthorized reproduction,
   21     creation of a derivative work, public display, and distribution of a photograph by the
   22     Defendants.
   23           Second, Defendants contend that the First Amendment protects their activities.
   24     Such statement is false and has been rejected by the U.S. Supreme Court. “Copyright
   25     laws are not restrictions on freedom of speech as copyright protects only form of
   26     expression and not the ideas expressed.” Harper & Row Publrs. v. Nation Enters.,
   27     471 U.S. 539, 556 (1984) (“[C]opyright’s idea/expression dichotomy ‘[strikes] a
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    1     definitional balance between the First Amendment and the Copyright Act by
    2     permitting free communication of facts while still protecting an author's expression.”).
    3

    4     PLAINTIFF’S PROPOSED INSTRUCTION NO. 45:
    5           Plaintiff’s position is that fair use need not be split into nine separate
    6     instructions and that Plaintiff’s Proposed Instruction No. 38 on fair use is
    7     appropriate. Under the Ninth Circuit Model Jury Instructions, the fair use factors are
    8     discussed together.
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    1                            INSTRUCTION NO. 46 (DISPUTED)
    2                               Concluding Remarks on Fair Use
    3

    4     DEFENDANTS’ PROPOSED INSTRUCTION NO. 46:
    5           It is up to you to decide whether all relevant factors, when considered fully and
    6     together, favor or disfavor fair use. All of these factors must be explored, discussed,
    7     and evaluated by you. No single factor is dispositive. Your evaluation of all factors
    8     must be weighed together in light of the purpose of copyright law, which is to
    9     promote the progress of science and useful arts.
   10           Some factors may weigh in favor of fair use and some against fair use. You
   11     must decide, after giving the factors such weight as you find appropriate based on the
   12     evidence and my instructions, whether or not, on balance, the Defendants have shown
   13     by a preponderance of the evidence that they made a fair use.
   14           If you find in favor of fair use, then your verdict on the copyright infringement
   15     claims should be for the Defendants.
   16

   17     DEFENDANTS’ STATEMENT RE: DEFENDANTS’ PROPOSED
   18     INSTRUCTION NO. 46:
   19           The jury needs to be given some instruction on how to weigh the factors,
   20     particularly given that this is not a situation where each factor holds equal weight.
   21           This proposed instruction is based on Campbell v. Acuff-Rose Music, Inc., 510
   22     U.S. 569, 578 (1994)(“Nor may the four statutory factors be treated in isolation, one
   23     from another. All are to be explored, and the results weighed together, in light of the
   24     purposes of copyright”); Tresona Multimedia, LLC v. Burbank High Sch. Vocal Music
   25     Ass'n, 953 F.3d 638, 652 (9th Cir. 2020)(“We weigh each of these factors in light of
   26     the Copyright Act's purpose “to stimulate artistic creativity for the general public
   27     good.”)
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    1     PLAINTIFF’S STATEMENT RE: DEFENDANTS’ PROPOSED
    2     INSTRUCTION NO. 46:
    3           The Court has already determined as a matter of law that: (1) Defendants’
    4     tattoo was not transformative; (2) the second factor weights against fair use; and (3)
    5     the third factor weighs against fair use. Accordingly, the above instruction is
    6     confusing and prejudicial to the jury because it asks the jury “evaluate” “all factors,”
    7     including those that has already been determined by the Court. The jury should be
    8     instructed to accept the Court’s previous findings relating to fair use. Plaintiff’s
    9     Instruction No. 44 instructs the jury on how to appropriately weigh the factors, while
   10     simultaneously accepting the Court’s legal determinations on these issues.
   11           Defendants’ Instruction does not instruct the jury that each of Defendants’ uses
   12     must be analyzed individually.
   13           Additionally, Defendants have improperly modified critical language from
   14     Ninth Circuit Model Civil Jury Instruction 17.22 that it is Defendants’ burden to
   15     prove fair use: “If you find that the defendant has proved by a preponderance of the
   16     evidence that the defendant made a fair use of the plaintiff’s work, your verdict
   17     should be for the defendant.”
   18

   19     PLAINTIFF’S PROPOSED INSTRUCTION NO. 46:
   20           Plaintiff’s position is that fair use need not be split into nine separate
   21     instructions and that Plaintiff’s Proposed Instruction No. 38 on fair use is
   22     appropriate. Under the Ninth Circuit Model Jury Instructions, the fair use factors are
   23     discussed together.
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    1                             INSTRUCTION NO. 47 (DISPUTED)
    2                   Copyright – Statute of Limitations and Three-Year Bar
    3

    4     DEFENDANTS’ PROPOSED INSTRUCTION NO. 47:
    5           To ensure that claims are brought to court reasonably promptly, copyright law
    6     generally bars the Plaintiff from recovering damages for infringing acts that occurred
    7     prior to three years before he filed his lawsuit. I will refer to this limitation as the
    8     “three-year bar.”
    9           There is an exception to the three-year bar. The exception is this: if, prior to the
   10     critical date of three years before filing the lawsuit, the Plaintiff was unaware of the
   11     infringement, and his lack of knowledge was reasonable under the circumstances,
   12     then the three-year bar does not apply.
   13           In our case, the Plaintiff filed this lawsuit on February 7, 2021. Thus, the
   14     critical date of three years before he filed the lawsuit is February 7, 2018.
   15           If you find that the Plaintiff discovered or should have discovered any of the
   16     alleged infringements prior to February 7, 2018, then the three-year bar applies as to
   17     that infringement. You may award damages only as to those alleged infringements
   18     that you determine that Plaintiff discovered on or after February 7, 2018.
   19

   20     DEFENDANTS’ STATEMENT RE: DEFENDANTS’ PROPOSED
   21     INSTRUCTION NO. 47:
   22           This instruction is based on existing Ninth Circuit law on the Copyright Act’s
   23     time limitations doctrines – the “discovery rule” for the treatment of the “accrual”
   24     question, and the “rolling approach” / “separate-accrual” rule for the treatment of the
   25     “continuing infringement” question. See Starz Entm’t, LLC v. MGM Domestic
   26     Television Distr., LLC, 510 F. Supp. 3d 878, 882-89 (C.D. Cal. 2021) (discussing
   27     time limitations doctrines of 17 U.S.C. § 507(b)), aff’d, 39 F. 4th 1236, 1239-41 (9th
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    1     Cir. 2022); Roley v. New World Pictures, Ltd., 19 F.3d 479, 481 (9th Cir. 1994); Polar
    2     Bear Prods., Inc. v. Timex Corp., 384 F.3d 700, 705-07 (9th Cir. 2004)).
    3           Defendant has modified the instruction to address Plaintiff’s stated concern that
    4     there are multiple alleged infringements.
    5

    6     PLAINTIFF’S STATEMENT RE: DEFENDANTS’ PROPOSED
    7     INSTRUCTION NO. 47:
    8           First, Plaintiff believes this instruction is unnecessary because no evidence
    9     exists that Plaintiff either discovered or should have discovered any of Defendants’
   10     infringements prior to three years before the suit was filed. Plaintiff has presented
   11     uncontroverted evidence that he discovered the infringements on or around February
   12     10, 2018, which is within the three-year period. As with all affirmative defenses, the
   13     burden is on Defendants to prove Plaintiff’s claims are barred.
   14           Second, this instruction is not in accordance with the law. “A copyright
   15     infringement claim is subject to a three-year statute of limitations, which runs
   16     separately for each violation. [A] copyright infringement claim accrues—and the
   17     statute of limitations begins to run—when a party discovers, or reasonably should
   18     have discovered, the alleged infringement.” Oracle Am., Inc. v. Hewlett Packard
   19     Enter. Co., 971 F.3d 1042, 1047 (9th Cir. 2020) (quoting 17 U.S.C. § 507(b); Petrella
   20     v. Metro-Goldwyn-Mayer, Inc., 572 U.S. 663, 671 (2014)); see also Starz Ent., LLC v.
   21     MGM Domestic Television Distribution, LLC, 39 F.4th 1236, 1240 (9th Cir. 2022) (a
   22     copyright claim “accrues at ‘the moment when the copyright holder has knowledge of
   23     a violation or is chargeable with such knowledge,’ and therefore ‘the three-year clock
   24     begins upon discovery of the infringement.’” (quoting Polar Bear Prod. Inc. v. Timex
   25     Corp., 384 F.3d 700, 706 (9th Cir. 2004)). Therefore, “§ 507(b) does not prohibit the
   26     recovery of damages for infringing acts that occurred outside the three-year window
   27     so long as the copyright plaintiff was unaware of the infringement, and that lack of
   28     knowledge was reasonable under the circumstances.” Id.(internal citation omitted). It
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    1     is Defendants’ burden to prove that Plaintiff was aware, or should have been aware,
    2     of the infringement. Defendants’ Instruction does not describe which party carries the
    3     burden on this issue.
    4           Third, Plaintiff has alleged that Defendants have committed different
    5     infringements (reproduction, preparation of a derivative work, distribution and public
    6     display) with respect to the tattoo, the materials used to prepare the tattoo, and the
    7     public display of both the tattoo and the photograph. Defendant has the burden of
    8     proving that the statute of limitations bars recovery of damages beyond three years
    9     with respect to each separate act of infringement.
   10           Thus, Defendants’ open-ended instruction is prejudicial to Plaintiff and ignores
   11     the burden of proof. Instead of Defendants needing to prove that the Statute of
   12     Limitations applies, Defendants’ instruction requires Plaintiff to prove that he did not
   13     have knowledge of the infringement and that his lack of knowledge was “reasonable
   14     under the circumstances.” Plaintiff does not agree that Defendants’ modifications
   15     have addressed Plaintiff’s concerns regarding multiple infringements.
   16

   17     PLAINTIFF’S PROPOSED INSTRUCTION NO. 47:
   18           Plaintiff’s position is that no instruction on the statute of limitation or three-
   19     year bar is appropriate.
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    1                         INSTRUCTION NO. 48 (UNDISPUTED)
    2                                       Damages – Proof
    3           It is the duty of the Court to instruct you about the measure of damages. By
    4     instructing you on damages, the Court does not mean to suggest for which party your
    5     verdict should be rendered.
    6           If you find for the plaintiff, you must determine the plaintiff’s damages. The
    7     plaintiff has the burden of proving damages by a preponderance of the evidence.
    8           It is for you to determine what damages, if any, have been provided.
    9           Your award must be based on evidence and not upon speculation, guesswork,
   10     or conjecture.
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   12     AUTHORITY FOR INSTRUCTION:
   13           Model Civ. Jury Instr. 9th Cir. 5.1 (2017).
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     1                          INSTRUCTION NO. 49 (UNDISPUTED)
     2                            Copyright – Damages (17 U.S.C. § 504)
     3           If you find for the plaintiff on the plaintiff’s copyright infringement claims, you
     4     must determine the plaintiff’s damages. The plaintiff is entitled to recover any profits
     5     of the defendants attributable to their infringement. The plaintiff must prove these
     6     damages by a preponderance of the evidence.
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     8     AUTHORITY FOR INSTRUCTION:
     9           Model Civ. Jury Instr. 9th Cir. 17.32 (2017).
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     1                            INSTRUCTION NO. 50 (DISPUTED)
     2                Copyright – Damages – Actual Damages (17 U.S.C. § 504(b))
     3

     4     PLAINTIFF’S PROPOSED INSTRUCTION NO. 50:
     5           The copyright owner is entitled to recover the actual damages suffered as a
     6     result of the infringement. Actual damages mean the amount of money adequate to
     7     compensate the copyright owner for the reduction of the fair market value of the
     8     copyrighted work caused by the infringement. The reduction of the fair market value
     9     of the copyrighted work is the amount a willing buyer would have been reasonably
    10     required to pay a willing seller at the time of the infringement for the actual use made
    11     by the defendant of the plaintiff’s work. That amount also could be represented by the
    12     lost license fees the plaintiff would have received for the defendant’s unauthorized
    13     use of the plaintiff’s work
    14

    15     AUTHORITY FOR INSTRUCTION:
    16           Model Civ. Jury Instr. 9th Cir. 17.33 (2017).
    17

    18     PLAINTIFF’S STATEMENT RE: PLAINTIFF’S PROPOSED INSTRUCTION
    19     NO. 50:
    20           Plaintiff proposes this jury instruction that is based on the Ninth Circuit Model
    21     Civil Jury Instruction 17.33 and complies with the Court’s Standing Order. Plaintiff
    22     disagrees with Defendants that the Court’s order at ECF 69 granted Defendants’
    23     summary judgment on the issue of actual damages. Plaintiff will not be arguing for
    24     actual damages based on the decrease in the market value of the Photograph. Rather,
    25     Plaintiff will be proving his actual damages based upon the hypothetical-license
    26     theory, which is calculated based on “the amount a willing buyer would have been
    27     reasonably required to pay a willing seller at the time of the infringement for the
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     1     actual use made by [Defendants] of the [Photograph].” Oracle Corp. v. SAP AG, 765
     2     F.3d 1081, 1087 (9th Cir. 2014) (internal citation omitted).
     3           Plaintiff believes that this instruction is necessary as it follows with the next
     4     instruction, 17.34 “Defendants’ Profits.”
     5

     6     DEFENDANTS’ STATEMENT RE: PLAINTIFF’S PROPOSED
     7     INSTRUCTION NO. 50:
     8           Defendants object to Plaintiff’s inclusion of a jury instruction on actual
     9     damages. Defendants sought partial summary judgment on the remedies of actual
    10     damages and Defendants’ profits. Dkt. 31 at 2:22-24 (notice of motion); Dkt. 32 at
    11     29:15-31:9 (brief). This Court’s summary judgment ruling granted in part
    12     Defendants’ motion for partial summary judgment as to remedies, and removed the
    13     issue of actual damages from the case. Dkt. 69 at 28-29 (“The Court GRANTS in
    14     part and DENIES in part Defendants’ motion for partial summary judgment as to
    15     remedies”; “Defendant[] argues Sedlik cannot prove actual damages . . . . Sedlik does
    16     not address this argument, and indeed he has put forward no such evidence.”).
    17           Plaintiff did not seek reconsideration of the Court order granting summary
    18     judgment as to actual damages (nor would he have had a basis for doing so) and
    19     actual damages is not an issue that should be presented to the jury.
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     1                             INSTRUCTION NO. 51 (DISPUTED)
     2              Copyright—Damages—Defendant's Profits (17 U.S.C. § 504(b))
     3

     4     PLAINTIFF’S PROPOSED INSTRUCTION NO. 51:
     5           In addition to actual damages, the copyright owner is entitled to any profits of
     6     the defendants attributable to the infringement. You may not include in an award of
     7     profits any amount that you took into account in determining actual damages.
     8           You may make an award of the defendants’ profits only if you find that the
     9     plaintiff showed a causal relationship between the infringement and the defendants’
    10     gross revenue.
    11           The defendants’ profit is determined by deducting all expenses from the
    12     defendants’ gross revenue.
    13           The defendants’ gross revenue is all of the defendants’ receipts from the sale of
    14     a product containing or using the copyrighted work. The plaintiff has the burden of
    15     proving the defendants’ gross revenue by a preponderance of the evidence.
    16           Expenses are all costs incurred in producing the defendants’ gross revenue. The
    17     defendants have the burden of proving the defendants’ expenses by a preponderance
    18     of the evidence.
    19           Unless you find that a portion of the profit from use of the copyrighted work is
    20     attributable to factors other than use of the copyrighted work, all of the profit is to be
    21     attributed to the infringement. The defendants have the burden of proving the
    22     percentage of the profit, if any, attributable to factors other than copyright or
    23     infringing the copyrighted work.
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    25     AUTHORITY FOR INSTRUCTION:
    26           Model Civ. Jury Instr. 9th Cir. 17.34 (2017).
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     1     PLAINTIFF’S STATEMENT RE: PLAINTIFF’S PROPOSED INSTRUCTION
     2     NO. 51:
     3           Plaintiff proposes this jury instruction that is based on the Ninth Circuit Model
     4     Civil Jury Instruction 17.34 and complies with the Court’s Standing Order. Plaintiff
     5     believes that the language “actual damages” is necessary as it is connected directly
     6     with the previous instruction, 50. Plaintiff believes that the Court’s order at ECF 69
     7     did not grant summary judgment for Defendants in favor of actual damages, for the
     8     reasons discussed above.
     9           The term “Defendants’ gross revenue” is the same term used by the Court in
    10     the summary judgment decision. ECF 69, 29. The Court found triable issues with
    11     respect to the gross revenue, and denied summary judgment on it. Id.
    12

    13     DEFENDANTS’ STATEMENT RE: PLAINTIFF’S PROPOSED
    14     INSTRUCTION NO. 51:
    15           Defendants object to the first paragraph of this instruction to the extent it
    16     references actual damages for the reasons discussed above with respect to Plaintiff’s
    17     Proposed Instruction No. 54. Defendants object to the second paragraph of the
    18     instruction. Model Instruction 17.34 includes the following:
    19                  You may make an award of the defendant’s profits only if
    20                  you find that the plaintiff showed a causal [relationship]
    21                  [nexus] between the infringement and the [profits generated
    22                  indirectly from the infringement] [defendant’s gross
    23                  revenue].
    24           Plaintiff chose to include “defendant’s gross revenue” as opposed to “profits
    25     generated indirectly from the infringement.” But in its summary judgment ruling, the
    26     Court granted partial summary judgment to Defendants on the remedy of direct
    27     profits. Dkt. 69 at 28-29 (“so Sedlik cannot establish direct profits”). Therefore, the
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     1     phrase “profits generated indirectly from the infringement” should be used, not “gross
     2     revenue.”
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     1                           INSTRUCTION NO. 52 (UNDISPUTED)
     2              Copyright – Damages – Statutory Damages (17 U.S.C. § 504(c))
     3           If you find for the plaintiff on the plaintiff’s copyright infringement claim, you
     4     must determine the plaintiff’s damages. The plaintiff seeks a statutory damage award,
     5     established by Congress for the work infringed. Its purpose is not only to compensate
     6     the plaintiff for its losses, which may be hard to prove, but also to penalize the
     7     infringer and deter future violations of the copyright laws.
     8           The amount you may award as statutory damages is not less than $750, nor
     9     more than $30,000.
    10           If you find the infringement was innocent, you may award as little as $200.
    11           However, if you find the infringement was willful, you may award as much as
    12     $150,000.
    13

    14     AUTHORITY FOR INSTRUCTION:
    15           Model Civ. Jury Instr. 9th Cir. 17.35 (2017).
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     1                          INSTRUCTION NO. 53 (UNDISPUTED)
     2           Copyright – Damages – Innocent Infringement (17 U.S.C. § 504(c)(2))
     3           An infringement is considered innocent when the defendant has proved both of
     4     the following elements by a preponderance of the evidence:
     5           1. the defendant was not aware that her or its acts constituted infringement of
     6     the copyright; and
     7           2. the defendant had no reason to believe that her or its acts constituted an
     8     infringement of the copyright.
     9

    10     AUTHORITY FOR INSTRUCTION:
    11           Model Civ. Jury Inst. 9th Cir. 17.36 (2017).
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     1                          INSTRUCTION NO. 54 (UNDISPUTED)
     2            Copyright – Damages – Willful Infringement (17 U.S.C. § 504(c)(2))
     3           An infringement is considered willful when the plaintiff has proved both of the
     4     following elements by a preponderance of the evidence:
     5           1. the defendants engaged in acts that infringed the copyright; and
     6           2. the defendants knew that those acts infringed the copyright, or the
     7     defendants acted with reckless disregard for, or willful blindness to, the copyright
     8     holder’s rights.
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    10     AUTHORITY FOR INSTRUCTION:
    11           Model Civ. Jury Instr. 9th Cir. 17.37 (2017).
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     1                           INSTRUCTION NO. 55 (UNDISPUTED)
     2                                       Duty to Deliberate
     3           Before you begin your deliberations, elect one member of the jury as your
     4     presiding juror. The presiding juror will preside over the deliberations and serve as
     5     the spokesperson for the jury in court.
     6           You shall diligently strive to reach agreement with all of the other jurors if you
     7     can do so. Your verdict must be unanimous.
     8           Each of you must decide the case for yourself, but you should do so only after
     9     you have considered all of the evidence, discussed it fully with the other jurors, and
    10     listened to their views.
    11           It is important that you attempt to reach a unanimous verdict but, of course,
    12     only if each of you can do so after having made your own conscientious decision. Do
    13     not be unwilling to change your opinion if the discussion persuades you that you
    14     should. But do not come to a decision simply because other jurors think it is right, or
    15     change an honest belief about the weight and effect of the evidence simply to reach a
    16     verdict.
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    18     AUTHORITY FOR INSTRUCTION:
    19           Model Civ. Jury Instr. 9th Cir. 3.1 (2017).
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     1                           INSTRUCTION NO. 56 (UNDISPUTED)
     2                      Consideration of Evidence – Conduct of the Jury
     3           Because you must base your verdict only on the evidence received in the case
     4     and on these instructions, I remind you that you must not be exposed to any other
     5     information about the case or to the issues it involves. Except for discussing the case
     6     with your fellow jurors during your deliberations:
     7           Do not communicate with anyone in any way and do not let anyone else
     8     communicate with you in any way about the merits of the case or anything to do with
     9     it. This includes discussing the case in person, in writing, by phone or electronic
    10     means, via email, via text messaging, or any Internet chat room, blog, website or
    11     application, including but not limited to Facebook, YouTube, Twitter, Instagram,
    12     LinkedIn, Snapchat, or any other forms of social media. This applies to
    13     communicating with your family members, your employer, the media or press, and
    14     the people involved in the trial. If you are asked or approached in any way about your
    15     jury service or anything about this case, you must respond that you have been ordered
    16     not to discuss the matter and to report the contact to the court.
    17           Do not read, watch, or listen to any news or media accounts or commentary
    18     about the case or anything to do with it, although I have no information that there will
    19     be news reports about this case; do not do any research, such as consulting
    20     dictionaries, searching the Internet, or using other reference materials; and do not
    21     make any investigation or in any other way try to learn about the case on your own.
    22     Do not visit or view any place discussed in this case, and do not use Internet programs
    23     or other devices to search for or view any place discussed during the trial. Also, do
    24     not do any research about this case, the law, or the people involved—including the
    25     parties, the witnesses or the lawyers—until you have been excused as jurors. If you
    26     happen to read or hear anything touching on this case in the media, turn away and
    27     report it to me as soon as possible.
    28           These rules protect each party’s right to have this case decided only on
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     1     evidence that has been presented here in court. Witnesses here in court take an oath to
     2     tell the truth, and the accuracy of their testimony is tested through the trial process. If
     3     you do any research or investigation outside the courtroom, or gain any information
     4     through improper communications, then your verdict may be influenced by
     5     inaccurate, incomplete or misleading information that has not been tested by the trial
     6     process. Each of the parties is entitled to a fair trial by an impartial jury, and if you
     7     decide the case based on information not presented in court, you will have denied the
     8     parties a fair trial. Remember, you have taken an oath to follow the rules, and it is
     9     very important that you follow these rules.
    10           A juror who violates these restrictions jeopardizes the fairness of these
    11     proceedings and a mistrial could result that would require the entire trial process to
    12     start over. If any juror is exposed to outside information, please notify the court
    13     immediately.
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    15     AUTHORITY FOR INSTRUCTION:
    16           Model Civ. Jury Instr. 9th Cir. 3.2 (2017).
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     1                          INSTRUCTION NO. 57 (UNDISPUTED)
     2                                Communication with the Court
     3           If it becomes necessary during your deliberations to communicate with me, you
     4     may send a note through the [clerk], signed by any one or more of you. No member of
     5     the jury should ever attempt to communicate with me except by a signed writing. I
     6     will not communicate with any member of the jury on anything concerning the case
     7     except in writing or here in open court. If you send out a question, I will consult with
     8     the lawyers before answering it, which may take some time. You may continue your
     9     deliberations while waiting for the answer to any question. Remember that you are
    10     not to tell anyone—including the court—how the jury stands, whether in terms of
    11     vote count or otherwise, until after you have reached a unanimous verdict or have
    12     been discharged.
    13

    14     AUTHORITY FOR INSTRUCTION:
    15           Model Civ. Jury Instr. 9th Cir. 3.3 (2017).
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     1                          INSTRUCTION NO. 58 (UNDISPUTED)
     2                                       Return of Verdict
     3           A verdict form has been prepared for you. [Explain verdict form as needed.]
     4     After you have reached unanimous agreement on a verdict, your foreperson should
     5     complete the verdict form according to your deliberations, sign and date it, and advise
     6     the [clerk] that you are ready to return to the courtroom.
     7

     8     AUTHORITY FOR INSTRUCTION:
     9           Ninth Circuit Manual of Model Jury Instructions 3.5.
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     1                                           ATTESTATION
     2               Pursuant to Local Rule 5.4.3.4(2)(i), all signatories listed, and on whose
     3     behalf this filing is submitted, concur in the filing’s content and have authorized the
     4     filing.
     5

     6
                                                            /s/ Robert E. Allen

     7                                                      ROBERT E. ALLEN

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